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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


LARRY PRIDE, MARVIN RODDY,
VICTOR LEE, GARY HARRIS, AND
CHRIS ANDERSON, individually and on
behalf of All Others Similarly Situated,

       Plaintiffs,

       v.

U.S. DEPARTMENT OF AGRICULTURE,
                                               Civil Action No. ____________
1400 Independence Avenue, S.W.
Washington, D.C. 20250,

FARM SERVICE AGENCY,
1400 Independence Avenue, S.W.
Washington, D.C. 20250,

THOMAS J. VILSACK, in his official
capacity as Secretary of the U.S. Department
of Agriculture,
1400 Independence Avenue, S.W.
Washington, D.C. 20250,

and

ZACH DUCHENEAUX, in his official
capacity as the Administrator of the Farm
Service Agency,
1400 Independence Avenue, S.W.
Washington, D.C. 20250,

       Defendants.



                             CLASS ACTION COMPLAINT
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                                                INTRODUCTION

           1.       The shameful history of the systematic subordination of Black farmers and ranchers

predates our nation’s founding, with chronic, systemic inequities perpetuated throughout

amendment of the Constitution, Reconstruction, federal administration of agricultural policy, civil

rights legislation, prior efforts to obtain remedy in the courts, and the best-stated intentions of

government reformers. This class action lawsuit is necessary because—however unimaginable and

unconscionable this reality might be—that discrimination continues today within our own federal

government—in particular, within Defendants the United States Department of Agriculture

(“USDA”) and the Farm Service Agency (“FSA”).1 This must end.

           2.       Seeking to represent a class of similarly situated Black farmers 2 who have been

harmed by Defendants’ continuing pattern of discriminatory lending practices and exclusion from

critical subsidies, Plaintiffs challenge ongoing, pervasive, and systemic discrimination by the very

federal agencies that determine the rules of the game and that are supposed to provide a level

playing field for American farmers. By continuing decades of discriminatory policies and

practices, Defendants have steadily relegated Black farmers to the margins of American

agriculture, throttled their efforts to turn sweat equity into profitable returns, and continued to drive

countless Black farmers out of business and into financial ruin.

           3.       Agricultural lending is the indispensable fuel of the farm economy. Year in and

year out, farmers depend on adequate, fair, and timely loans to buy seed, fertilizer, herbicide, and

energy to capitalize on planting seasons. Lending is also crucial to farmers’ ability to establish and

expand their operations by making investments in land, equipment, and other efficiencies that drive




1
    Unless otherwise specified, the use of the term “USDA” herein includes all four Defendants named in this action.
2
    Unless otherwise specified, the use of the term “farmers” herein includes both farmers and ranchers.


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revenues. Likewise, ranchers depend on adequate, fair, and timely loans to buy livestock and feed,

as well as land, fencing, and equipment. Adequate and equitable access to lending often determines

the profitability, efficiency, and scale of farming and ranching operations.

       4.      Year after year, however, the USDA perpetuates policies and practices in its

lending program that subject Black farmers to disparate and discriminatory treatment. The USDA

knows that these policies and practices have long disadvantaged Black farmers by every metric—

unjustified denials, coerced withdrawals, undue delays, and onerous terms—yet the agency

continues the same policies and practices, leaving Black farmers at a significant competitive

disadvantage. Among other policies and practices that Defendants know harm Black farmers, the

USDA has continued to deliberately place the fate of Black farmers in the hands of local officials,

who regularly use delegated powers to apply subjective criteria to discriminatory effects. When

decades of such deliberate delegation continue to produce abjectly disparate results, continued

delegation is undue, entrenches systemic racism, and cannot be distinguished in impact from a

policy of overt discrimination.

       5.      Even as agency officials openly admit the USDA’s long history of discrimination,

the lending data demonstrate that discrimination is anything but a relic of the past. The numbers

are stark and show that Black farmers are significantly more likely to be subjected to denials and

other obstructions when seeking direct loans. And incredibly, the data show that the problem has

gotten worse. As Defendants offer rhetorical pronouncements about racial equity, the only real

change in the USDA’s direct loan program has been a marked increase in the disparate treatment

of Black farmers while they continue to lose ground, disproportionately shrinking in size and

profitability. Backed by the USDA’s own admission, many Black farmers have become so

discouraged that they have given up on seeking funds from the USDA. Some have given up on




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farming altogether. Yet despite these data, the USDA still fails to implement meaningful change.

        6.      Discrimination in Defendants’ direct lending program is compounded by disparate

treatment of Black farmers in its subsidy programs. Most significantly, the USDA’s Market

Facilitation Program (“MFP”) somehow managed to find and distribute $23 billion in 2018 and

2019 to compensate farmers for tariffs imposed by China in reaction to U.S. trade policy.

Incredibly, the USDA directed 99.5% of those funds to white farmers. “Disparate” does not begin

to describe that extraordinary result.

        7.      Black farmers have now reached a pivotal point. According to the USDA’s own

data, in the last one hundred years, the number of Black farmers has plummeted from roughly

925,000 in 1920, representing 14% of all farmers, to fewer than 50,000 today, representing only

1% of all farmers. The USDA has had a significant hand in that massive decline.

        8.      In partial recognition of its shameful record, the USDA is currently accepting

applications for financial assistance to farmers who experienced racial (and other) discrimination

in the USDA’s lending programs prior to January 1, 2021. But the USDA itself describes this

program as only a “step” in addressing its “past” wrongdoing and makes clear that it will not fully

compensate applicants for actual economic losses.3 Moreover, the program does not address

ongoing discrimination that Black farmers have experienced in the last three growing seasons.

Enough is enough. Black farmers can no longer wait for piecemeal solutions that fail to recognize

either the actual damages they have suffered or the ongoing mistreatment they continue to endure.

        9.      Plaintiffs, all Black farmers harmed by the USDA’s discriminatory practices, on

behalf of themselves and others similarly situated, are entitled to monetary, declaratory, and

injunctive relief.


3
 Application for Financial Assistance Inflation Reduction Act Section 22007 USDA Discrimination Financial
Assistance Program (last updated 7/20/2023) (https://22007apply.gov/).


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                                         JURISDICTION

        10.     The Court has jurisdiction over this matter pursuant to 15 U.S.C. § 1691e(f), 28

U.S.C. § 1331, 28 U.S.C. § 1361, and 28 U.S.C. §§ 2201-2202.

                                              VENUE

        11.     Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 1391(b) and

1391(e) because it is a district in which one or more defendants in this action reside, including the

USDA and FSA, and because a substantial part of the events giving rise to Plaintiffs’ claims

occurred in this district.

                                            PARTIES

        12.     Plaintiff and proposed class representative Larry Pride, a Black American farmer,

resides in Panola County, Mississippi where he has farmed since 1985. Mr. Pride currently owns

600 acres in Mississippi that he uses to produce soybeans, corn, beef cattle, and timber. Mr. Pride

has been subjected to the USDA’s racially discriminatory practices, including this year.

        13.     Plaintiff Marvin Roddy, a Black American farmer, resides in Memphis, Tennessee

and operates a farm in Tunica County, Mississippi. Mr. Roddy grew up in a farming family with

a father who worked as a foreman on large farm that historically operated as a plantation. In 2020,

passionate about returning to farming after his retirement from the Army Corps of Engineers, Mr.

Roddy leased 300 acres to cultivate row crops such as soybeans. Mr. Roddy has been subjected to

the racially discriminatory practices by the USDA, including discriminatory treatment since 2020.

        14.     Plaintiff Victor Lee, a Black American farmer, resides in McGehee, Arkansas

where he has farmed since 2015. Mr. Lee has leased and planted as many as 700 acres to produce

row crops such as soybeans. The USDA’s discriminatory practices have caused Mr. Lee to lose

leases, reducing his operation to 80 acres this year. Mr. Lee has been subjected to the racially

discriminatory practices by the USDA, including discriminatory treatment this year.


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       15.     Plaintiff Chris Anderson, a Black American farmer, resides in McGehee, Arkansas

where he has farmed since 1990. Mr. Anderson has leased and planted as many as 400 acres to

produce row crops such as soybeans, wheat, milo, and corn. Mr. Anderson has been subjected to

the racially discriminatory practices by the USDA, including discriminatory treatment this year.

       16.     Plaintiff Gary Harris, a Black American farmer, resides in Grady, Arkansas where

he has farmed since approximately 2013. Mr. Harris has leased and farmed as many as 3000 acres

to produce row crops such as soybeans and corn, and to raise cattle. The USDA’s discriminatory

practices have caused Mr. Lee to lose leases, reducing his operation to 600 acres this year.

       17.     Defendant the United States Department of Agriculture (“USDA”) is the United

States cabinet department responsible for developing and executing federal policy on farming,

agriculture, and food. Defendant USDA resides in Washington, D.C. and regularly conducts

business in this District, and through local offices throughout the United States. At all relevant

times, the USDA had responsibility for the loan programs and federal funds at issue here.

       18.     Defendant the Farm Service Agency (“FSA”) is an agency within the USDA that

implements agricultural policy, administers credit and loan programs, and manages conservation,

commodity, disaster and farm marketing programs through a national network of offices.

Defendant FSA resides in Washington, D.C. and regularly conducts business in this District, and

through local offices throughout the United States. At all relevant times, the FSA had responsibility

for administering the loan programs and distribution of federal funds at issue here.

       19.     Defendant Thomas Vilsack is the current Secretary of the USDA and is the federal

official responsible for the administration of programs that are the subject of this action, as well as

the programs administered by any predecessor. Mr. Vilsack is a defendant in his official capacity.

       20.     Defendant Zach Ducheneaux is the Administrator of the FSA and is the federal




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official responsible for the administration of loan programs of the FSA that are the subject of this

action, as well as the programs administered by any predecessor. Mr. Ducheneaux is a defendant

in his official capacity.

                                     FACTUAL ALLEGATIONS

        A.      The USDA’s Direct Loan Program

        21.     The USDA administers agricultural lending programs through the FSA, which was

established on October 13, 1994.4 The FSA’s stated mission is “equitably serving all farmers,

ranchers, and agricultural partners through the delivery of effective, efficient agricultural programs

for all Americans.”5 The loan programs that the FSA administers are intended to “provide a safety

net for farmers and ranchers temporarily unable to obtain credit, to finance their operations, at

reasonable rates and terms.”6

        22.     Most farm loans that the USDA (through the FSA) administers are authorized by

the Consolidated Farm and Rural Development Act, as amended (the “CONACT”). 7 The objective

of these programs “is to provide supervised credit and management assistance to eligible farmers

to become owners or operators, or both, of family farms, to continue such operations when credit

is not available elsewhere, or to return to normal farming operations after sustaining substantial

losses as a result of a designated or declared disaster.” 8 The programs are designed “to allow those

who participate to transition to private commercial credit or other sources of credit in the shortest




4
  See Department of Agriculture Reorganization Act of 1994, Pub.L. 103-354, 108 Stat 3178, as amended by the
Federal Agriculture Improvement and Reform Act of 1996, Pub.L. 104-127, 110 Stat 888.
5
  USDA Farm Service Agency, History and Mission, https://www.fsa.usda.gov/about-fsa/history-and-mission/index
(last visited Aug. 8, 2023)).
6
       2022     USDA          Explanatory    Notes    –     Farm      Service      Agency,      at    p. 26-5,
https://www.usda.gov/sites/default/files/documents/26FSA2022Notes.pdf.
7
  7 C.F.R. § 761.1(c) (“progression lending” was changed from “supervised credit” as of March 9, 2022).
8
  Id.


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period of time practicable….”9

        23.      The USDA uses direct and guaranteed loan programs to pursue these directives.

Direct loans are originated and serviced by FSA staff. Guaranteed loans are originated and serviced

by qualified commercial, cooperative, or nonprofit lenders. The intent of direct loan programs is

to assist those deemed underserved by credit markets because of cash flow feasibility, security, or

creditworthiness concerns, or a lack of available agricultural credit in the applicant’s area. The

intent of guaranteed programs is to assist farmers who do not meet a lender’s underwriting criteria

or when lenders lack the liquidity necessary to fund otherwise creditworthy applicants. This action

focuses on the FSA’s direct loan programs.

        24.      The FSA originates and services three principal types of direct loans. The first

consists of “ownership” loans, which may be used to acquire or enlarge a farm or ranch, to

construct or improve buildings on a farm or ranch, or to help conserve and protect soil and water

resources on a farm or ranch.10

        25.      The second consists of “operating” loans, which may be used for purposes

including to make a farm or ranch more profitable; to purchase livestock or equipment; to buy

feed, seed, fertilizer, or other supplies; to meet essential farm or ranch operating expenses,

including cash rent; to finance land or water development or conservation; or to refinance debt. 11

        26.      The third consists of “emergency” loans, which may be used to assist farmers and

ranchers with recovery from crop or livestock losses resulting from quarantines, droughts, floods,

or other natural disasters or emergencies. 12




9
  Id.
10
   7 U.S.C. §§ 1923, 1924. See also generally 7 U.S.C. §§ 1922-1936c.
11
   7 U.S.C. § 1942. See also generally 7 U.S.C. §§ 1941-1949.
12
   7 U.S.C. § 1963. See generally 7 U.S.C. §§ 1961-1970.


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        27.      The USDA has special legal obligations with respect to “socially disadvantaged

farmer[s] or rancher[s],” defined as members of a “socially disadvantaged group” who “have been

subjected to racial or ethnic prejudice because of their identity as members of a group without

regard to their individual qualities.”13 Among other things, the USDA is obligated by law to

“encourage and assist socially disadvantaged farmers and ranchers…in the ownership and

operation of farms and ranches through (1) education and training; and (2) equitable participation

in all agricultural programs of the [USDA].” 14

        28.      The stated objectives of the USDA loan program include: (1) “to provide

supervised credit and management assistance to eligible farmers to become owners or operators,

or both, of family farms”; (2) “to continue such operations when credit is not available elsewhere”;

and (3) “to allow those who participate to transition to private commercial credit or other sources

of credit in the shortest period of time practicable.”15

        29.      It has long been and remains the practice and policy of the USDA to delegate

authority and discretion for the administration and implementation of its direct loan program to

local agency officials.16

        30.      In addition to this decentralized administration, the USDA also has a practice and

policy of injecting a high degree of subjectivity throughout all stages of the direct loan process:

from the loan inquiry stage, and on through the loan application stage, the loan



13
   7 U.S.C. § 2279(a)(5) and (6). See also 7 U.S.C. § 2003(e)(1)-(2).
14
   7 U.S.C. § 2279(b).
15
   7 C.F.R. § 761.1(c).
16
   See, e.g., 7 C.F.R. § 2.42(a)(28) (the Under Secretary for Farm Production and Conservation delegating authority
to the FSA Administrator); 7 C.F.R. § 761.1(a) (the FSA Administrator delegating authority to the Deputy
Administrator for Farm Loan Programs); 7 C.F.R. § 761.1(b)(1) (the Deputy Administrator delegating authority to
each State Executive Director, who may further redelegate authority to a Farm Loan Chief, Farm Loan Specialist,
District Director, Farm Loan Manager, Senior Farm Loan Officer, Farm Loan Officer, Loan Analyst, Loan Resolution
Specialist, or Program Technician).


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approval/denial/withdrawal stage, and the setting of loan terms and conditions. 17 Among other

things, the USDA’s criteria for its direct loans intentionally lack quantitative, objective standards

and vest local agency loan officers with broad authority and discretion in the loan process. The

USDA has perpetuated that subjectivity knowing that it consistently produces discriminatory

results year in and year out. As described more fully herein, it is in part through these long-standing

policies and practices of decentralized authority and subjective criteria that the USDA has

knowingly allowed its rampant discriminatory conduct to proliferate and persist.

        B.      The USDA’s Longstanding History of Discrimination

        31.     The USDA has known of systemic discrimination in its agricultural lending and aid

programs for well over 50 years. Studies, initiatives, and even settlements of previously asserted

legal claims have so far failed either to rectify these deeply rooted practices or to fully compensate

the agency’s victims for the damages and setbacks the agency has caused. Despite being well

aware of the problem, the USDA continues to engage in these discriminatory practices yet today.

        32.     Systemic discrimination in USDA loan programs has been well documented since

at least 1965, when the United States Commission on Civil Rights issued a 141-page report called

“Equal Opportunity in Farm Programs: An Appraisal of Services Rendered by Agencies of the

United States Department of Agriculture”. 18 The objective was to study “discriminatory policies,

practices, or patterns inherent in the administration of selected programs which result in the denial

of Federal benefits to persons because of their race or color.” 19 With respect to the provision of

loans and technical assistance to Black farmers by the Farmers Home Administration (FmHA, and

the precursor to FSA), the Commission found that, as compared to similarly situated white farmers,


17
   See, e.g., FSA Handbook, Direct Loan Making For State and County Offices, 3-FLP (Rev. 2).
18
   Equal Opportunity in Farm Programs: An Appraisal of Services Rendered by Agencies of the United States
Department of Agriculture, A Report of the United States Commission on Civil Rights (1965).
19
   Report of the United States Commission on Civil Rights, at viii.


                                                   9
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the FmHA had not given “comparable service” to Black farmers “either in terms of the size of

loans, the purposes for which the loans are to be used, or the technical assistance necessary to fully

achieve the purposes of such loans.” 20

        33.     Looking beyond just the number of loans issued to Black farmers, the Commission

reviewed data for ownership, operating, and emergency loans and found that, in every economic

class, average loan size to white farmers was “substantially greater” than for Black farmers. 21 Even

more stark, for white farmers, average loan size “increased steadily as net worth decreased” – in

fact, in the poorest classes, white farmers received loans five times larger than in classes of richer

white farmers.22 But for Black farmers, the trend was reversed: average loan size “dropped sharply

as the poorer farmers were reached.”23

        34.     In January 1981, the USDA issued a report called “A Time to Choose: Summary

Report on the Structure of Agriculture.” In it, the USDA observed that government subsidies

tended to “disproportionately benefit larger farmers and landowners”, 24 and that Black and other

minority farmers were “disproportionately represented in the poverty groups”. 25 At the same time,

the USDA found that there was “little economic rationale” for providing public credit to larger

farms26 and that government subsidies would be “better spent” helping small farmers, and in

particular, minorities.27

        35.     In February 1982, the United States Commission on Civil Rights issued a report


20
   Report of the United States Commission on Civil Rights, at 67.
21
   Report of the United States Commission on Civil Rights, at 70.
22
   Report of the United States Commission on Civil Rights, at 71.
23
   Report of the United States Commission on Civil Rights, at 71. (emphasis added).
24
   Bob S. Bergland, Secretary of Agriculture, A Time to Choose: Summary Report on the Structure of Agriculture
(Jan. 1981), at 146.
25
   Summary Report on the Structure of Agriculture, at 66.
26
   Summary Report on the Structure of Agriculture, at 123, 150.
27
   Summary Report on the Structure of Agriculture, at 123.


                                                     10
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entitled “The Decline of Black Farming in America.” The Commission acknowledged the USDA’s

critical role in providing “immediate assistance so urgently needed” by Black farmers. 28 By

providing a source of financing to borrowers who could not obtain credit commercially, the

Commission observed, the USDA was reflecting “the social value placed on maintaining a strong

and diverse agricultural sector.”29

        36.      However, again reviewing the USDA’s farm credit programs, the Commission

found that, while these programs could “provide immediate direct assistance to [B]lack farmers to

make their farms more viable,” the USDA had not given “adequate emphasis or priority” to Black

farmers, despite their “disproportionate need,” and may have even “hindered” Black farmers from

remaining viable in agriculture.30

        37.      In fact, the Commission catalogued numerous “special difficulties” that Black

farmers encountered when attempting to use USDA resources. 31 The report describes a “broad

range of discriminatory actions” by the agency, including agency officials subjecting Black

farmers to “disrespect, embarrassment, and humiliation.”32 Black farmers reported that the USDA

denied them opportunities to submit loan applications, took inordinate time to process loan

applications, awarded loans for less than the requested amounts, failed to provide the full amount

awarded, accelerated repayment schedules without explanation, and contacted commercial

creditors to report that no loans would be made to these farmers. 33 The report concluded that the

USDA was issuing loans to Black farmers in proportionally fewer numbers and on worse terms


28
   A Report of the United States Commission on Civil Rights, The Decline of Black Farming in America (Feb. 1982),
at 71.
29
   The Decline of Black Farming in America, at 76.
30
   The Decline of Black Farming in America, at IV, 178.
31
   The Decline of Black Farming in America, at 84.
32
   Id.
33
   The Decline of Black Farming in America, at 84, 134.


                                                       11
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than their white counterparts, such that the agency was engaging in “the very kind of racial

discrimination that it should be seeking to correct.” 34

         38.      In July 1986, in a report called “Black Farmers and Their Farms,” the USDA found

that “[B]lack-operated farms still remain, on average, abnormally small in terms of acreage and

value of agricultural products sold.”35 Indeed, the average Black-operated farm was less than one-

fourth the size of the national average farm.36 The report did not endeavor to investigate what

factors were causing this disparity.

         39.      In February 1997, the USDA published a report called “Civil Rights at the United

States Department of Agriculture,” in which the agency recognized the “persistent problems” in

its treatment of minority farmers. 37 The report found that the USDA had “allowed too many past

reports to gather dust and too many recommendations to go unimplemented.” 38 The report

acknowledged “hundreds of minority and socially disadvantaged customers” who had spoken

about “discrimination and mistreatment by county-level employees and advisory boards who

administer USDA programs,” acknowledging that the problems were neither “new” nor

“unknown.”39 The report observed that “[d]espite the fact that discrimination in program delivery

and employment has been documented and discussed, it continues to exist to a large degree

unabated.”40

         40.      Also in February 1997, the USDA Office of the Inspector General (USDA OIG)



34
   The Decline of Black Farming in America, at 179.
35
   Vera J. Banks, U.S.D.A., Rural Development Research Report No. 59, Black Farmers and Their Farms (July 1986),
at 17.
36
   Black Farmers and Their Farms, at 18.
37
   Civil Rights at the United States Department of Agriculture, A Report by the Civil Rights Action Team (Feb. 1997),
at 57.
38
   Id.
39
   Civil Rights at the United States Department of Agriculture, at 2.
40
   Id. at 2.


                                                         12
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issued two reports about the USDA’s treatment of minority farmers and ranchers. In “Report for

the Secretary on Civil Rights Issues–Phase I,” the Inspector General found a “large backlog” of

languishing discrimination complaints against the FSA. 41 In a second report, dated November

2005, called “Minority Participation in Farm Service Agency’s Farm Loan Programs–Phase II,”

the Inspector General found that FSA loan decisions for the previous eight years had

disproportionately benefitted nonminority farmers.

         41.      On August 28, 1997, farmers and ranchers filed Pigford v. Glickman, the first of a

series of class-action lawsuits against the USDA alleging that the agency was engaging in racial,

ethnic, and gender discrimination in its agricultural programs. 42 On October 9, 1998, the Court

certified a class for purposes of determining the USDA’s liability. 43 In 1999, the Court approved

a Consent Decree settlement the parties submitted, which the Court of Appeals affirmed. 44 Under

the settlement (sometimes called Pigford I), the USDA declined to admit liability for its

discriminatory behavior and agreed to compensate Black farmers only if they demonstrated by

“substantial evidence” that they were the victim of race discrimination. Administration of the

settlement took many years, encountered numerous problems, and left most of the agency’s victims

uncompensated, in part because of resistance by the USDA itself. 45

         42.      In 2005, the USDA OIG issued a follow-up report to “revisit the findings” of its


41
   Roger C. Viadero, Inspector General, Report for the Secretary on Civil Rights Issues–Phase I (Feb. 27, 1997), at 1.
42
   Pigford v. Glickman, Nos. 97-1978, 98-1693 (D.D.C. 1997) was filed on behalf of Black farmers in 1997 and settled
in 1999, with an additional settlement (Pigford II) in 2010. Keepseagle v. Glickman, No. 99-3119 (D.D.C. 1999) was
filed on behalf of Native American farmers in 1999 and settled in 2010. Garcia v. Glickman, No. 00-2445 (D.D.C.
2000) was filed on behalf of Hispanic farmers in 2000. Love v. Glickman, No. 00-2502 (D.D.C. 2000) was filed on
behalf of women farmers in 2000. Garcia and Love were consolidated and settled in 2011.
43
   Pigford v. Glickman, 182 F.R.D. 341 (D.D.C. 1998). On January 5, 1999, the Court vacated this order and recertified
the class under Fed. R. Civ. P. 23(b)(3). The Court approved a revised definition of the class on April 14, 1999. Pigford
v. Glickman, 185 F.R.D. 82 (D.D.C. 1999), aff’d 206 F.3d 1212 (D.C. Cir. 2000).
44
   Pigford v. Glickman, 206 F.3d 1212, 1219 (D.C. Cir. 2000).
45
   Less than 14% of the 94,000 Black farmers who sought restitution obtained awards. See Environmental Working
Group, “Obstruction of Justice: USDA Undermines Historic Civil Rights Settlement with Black Farmers” (July 20,
2004).


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1997 report, called “Audit Report: Minority Participation in Farm Service Agency’s Programs.”

The USDA OIG continued to find ongoing problems with respect to the USDA’s treatment of

minorities, including that the agency was still not effectively processing civil rights complaints

and was failing to adequately coordinate 46 outreach activities to minority farmers. Indeed, although

the USDA OIG found some improvement, the USDA OIG nevertheless found that the USDA was

still lagging behind in loan processing times and approval rates as compared to non-minorities. 47

        43.      In particular, the USDA OIG cited minority loan applicants who “were not given

the technical assistance needed to complete their application and obtain funds in time to plant their

crops and achieve optimum production.” In FY2003 in Mississippi, for example, the average time

between when loans were approved and when they closed was 61 days for Black farmers and 47

days for white farmers.48 Moreover, while the USDA OIG highlighted that the number of minority

loan applications had increased from FY1996 to FY2003, the same data showed a material

decrease (from 63% to 56%) in the approval rates of those applications, still lagging behind the

approval rates of nonminority farmers in the same areas. 49

        44.      On May 14, 2008, the United States Government Accountability Office (“GAO”)

issued a report on the agency’s processing of civil rights complaints, which is conducted through

the Office of the Assistant Secretary for Civil Rights (OASCR).50 The report described the

backlogs of discrimination complaints at the agency and the agency’s “difficulties” in simply



46
   U.S.D.A., Office of Inspector General, Audit Report: Minority Participation in Farm Service Agency’s Programs
(Nov. 2005), at i.
47
   Minority Participation in Farm Service Agency’s Programs, at 6.
48
   Minority Participation in Farm Service Agency’s Programs, at 7.
49
   Minority Participation in Farm Service Agency’s Programs, at 9.
50
   United States Government Accountability Office, “U.S. Department of Agriculture: Management of Civil Rights
Efforts Continues to be Deficient Despite Years of Attention,” Testimony before the Subcommittee on Government
Management, Organization, and Procurement, Committee on Oversight and Government Reform, House of
Representatives, May 14, 2008.


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processing those complaints, to the point of questioning the “credibility” of the agency itself:

                At a basic level, the credibility of USDA’s efforts to correct long-
                standing problems in resolving discrimination complaints has been
                and continues to be undermined by faulty reporting of data on
                discrimination complaints and disparities we found when comparing
                various [OASCR] sources of data. Even such basic information as
                the number of discrimination complaints is subject to wide variation
                in [OASCR’s] reports to the public and the Congress.51

The report further described the USDA’s data on the participation of minority farmers in USDA

programs as “unreliable, according to USDA.” 52

        45.     Due to problems in the administration of the Pigford settlement, in 2008 Congress

allowed claimants to re-file their claims in federal court, and the ensuing lawsuits were

consolidated into a single case.53 On February 18, 2010, the USDA announced a new round of

settlements for these claims, followed by several additional years of additional claims

administration. On May 29, 2013, the Congressional Research Service noted that not a single new

claim had yet been paid.54 Ultimately, a lower proportion of successful claims was positively

adjudicated than under Pigford I.55 And even these payments only compensated the victims of the

USDA’s discrimination in relation to the claims raised in the original Pigford lawsuit, which only

covered acts of discrimination that had occurred between 1981 and 1996.

        46.     Moreover, the settlements did not cause the agency to correct its discriminatory

ways. On November 5, 2010, for example, Mr. Lloyd Wright, an Advisor to Secretary Vilsack

(who also served as USDA Secretary in President Obama’s administration), wrote the Secretary’s




51
   Management of Civil Rights Efforts Continues to be Deficient Despite Years of Attention, at 4.
52
   Management of Civil Rights Efforts Continues to be Deficient Despite Years of Attention, at 4-5.
53
   See In re Black Farmers Discrimination Litigation, 1:08-mc-00511-PLF (2008) (sometimes called Pigford II).
54
   Congressional Research Service, The Pigford Cases: USDA Settlement of Discrimination Suits by Black Farmers
(May 29, 2013).
55
   Id.


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Deputy Chief of Staff reporting on how the FSA was discriminatorily under-recording the crop

yields of Black farmers.56 Not only did this prevent these farmers from receiving farm loans and

other federal benefits, but it also impacted their ability to obtain crop insurance payments and

disaster relief. According to the memorandum, with respect to disaster relief, “the [B]lack farmer

must lose nearly twice as much as the white farmer in order to qualify for the same disaster relief

because his recorded crop yield is nearly half that of the white farmer.”

        47.     On March 31, 2011, the law firm of Jackson Lewis LLP issued a report

commissioned by the USDA that, after an 18-month investigation, documented ongoing problems

with discrimination at the agency.57 In its own words, the report “substantiated claims of denial of

equal program access and continuing institutional discrimination,” starkly observing as follows:

                [T]he vast majority of USDA employees interviewed (in some
                Agencies, 80-90%) disclaimed knowledge of discriminatory
                practices or unequal treatment of SDG [socially disadvantaged
                group] customers or potential customers. Clearly, significant
                numbers of USDA employees do not accept eradication of barriers
                to equal access or Agency discrimination as enforceable and
                important Department-wide priorities. The very fact that so many
                USDA employees did not recognize the real problems of inequitable
                program delivery is a very serious concern, but may explain, in part,
                why previous efforts to address USDA discrimination problems have
                been less than fully successful.58

The report found that USDA employees “recognize the inequitable customer service, but do not

see it as a problem because ‘it has always been done this way’ and there is no penalty for continuing

to do so.”59 Not surprisingly, then, the data still “clearly indicated some serious failures to meet




56
   Informational Memorandum for Deputy Chief of Staff to the Secretary, Lloyd Wright, USDA Advisor to the
Secretary, to C. Jett, USDA Deputy Chief of Staff, dated Nov. 5, 2010.
57
   Jackson Lewis LLP, Civil Rights Assessment, Final Report (Mar. 31, 2011), cited in USDA Motion for Summary
Judgment dated March 11, 2022 (Dkt. 168) at 20.
58
   Civil Rights Assessment, Final Report, at viii (emphasis in original).
59
   Civil Rights Assessment, Final Report, at 62.


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the Agency’s mandate to provide fair and equitable access to FSA programs and services.” 60 The

report further catalogued persistent complaints that minority farmers were discriminated against

with respect to the availability, timing, and requirements for obtaining USDA loans. 61

        48.      In July 2019, the GAO issued a report acknowledging the ongoing importance of

financing to farmers and ranchers, observing that “[a]gricultural producers generally require

financing to acquire, maintain, or expand their farms, ranches, or agribusinesses.” 62 Nevertheless,

the GAO found that, in surveys taken in 2015-2017, socially disadvantaged farmers comprised

17% of primary producers but accounted for only 8% of total agricultural debt. Moreover, while

socially disadvantaged farms tended to be smaller in size and revenue than other farms, only 21%

received government payments, compared to 36% of non-socially disadvantaged farms. 63

        49.      On February 24, 2021, the GAO released another report, similarly finding “racial

and income disparities in access to financial services and availability of credit,” with women and

minority farmers receiving “less access to credit” than other agricultural businesses. 64 Again, the

GAO recognized that while women and minority farmers and ranchers represented about 17% of

primary producers, they accounted for only 13% of farms with loans and 8% of outstanding total

agricultural debt.65

        50.      Meanwhile, the USDA’s process for addressing civil rights complaints remained

sorely lacking, leaving the victims of the USDA’s ongoing discrimination without recourse. In




60
   Civil Rights Assessment, Final Report, at 66.
61
   Civil Rights Assessment, Final Report, at 77-92.
62
   United States Government Accountability Office, Agricultural Lending: Information on Credit and Outreach to
Socially Disadvantaged Farmers and Ranchers is Limited, (July 2019), at 7.
63
   Id.
64
   United States General Accounting Office, Financial Services: Fair Lending, Access, and Retirement Security, (Feb.
24, 2021).
65
   Financial Services: Fair Lending, Access, and Retirement Security, at 2.


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September 2021, the USDA OIG issued an audit report finding that the USDA’s Office of the

Assistant Secretary for Civil Rights, which was responsible for processing complaints by persons

subjected to USDA discrimination, was not “timely and appropriately” handling the complaints it

received.66 Incredibly, the report found that, in 2019, the agency was taking an average of 799

days–well over two years–to process a program complaint (compared to the 180-day standard).

Moreover, the USDA OIG found that roughly one-third of the complaint determinations it

reviewed “were not adequately supported and processed.” 67

        51.     Indeed, reports found that the USDA’s complaint process—the purpose of which

was to investigate and address the agency’s discriminatory conduct—was itself discriminatory, to

the point that the USDA was foreclosing on farmers attempting to redress discrimination with

pending discrimination complaints.68

        C.      The USDA’s Recent Admissions of Discrimination

        52.     The USDA still acknowledges the systemic racial discrimination in connection with

its lending programs, which has resulted in past, current, and ongoing adverse effects to minority

farmers and ranchers. For reference, the U.S. Equal Employment Opportunity Commission

(“EEOC”) defines systemic discrimination as a “pattern or practice, policy and/or class cases

where the discrimination has a broad impact on an industry, profession, company, or geographic

location.”69 The EEOC further recognizes “systemic” as “bias that is built into systems, originating




66
   USDA Office of the Inspector General, USDA Oversight of Civil Rights Complaints, Audit Report 60601-0001-21
(Sept. 2021). The problems and deficiencies recognized by the USDA OIG’s audit report regarding the USDA’s
processing of discrimination complaints were not new.
67
   USDA Oversight of Civil Rights Complaints, at 4.
68
   See Harvard Law School Food and Law Policy Clinic, Supporting Civil Rights at USDA: Opportunities to Reform
the USDA Office of the Assistant Secretary of Civil Rights, (April 2021).
69
   Systematic Enforcement at the EEOC, https://www.eeoc.gov/systemic-enforcement-eeoc (last visited Aug. 8,
2023).


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in the way work is organized.”70

        53.     On March 25, 2021, Defendant Vilsack, in his capacity as the Secretary of USDA,

testified before Congress regarding the USDA’s long-standing “systemic racism and

discrimination” against minority farmers. 71 Stating that he was speaking “from the heart,”

Secretary Vilsack admitted that systemic discrimination still exists at the USDA, and he candidly

testified that “more needs to be done to dig deeper into the systemic causes and barriers that

perpetuate discriminatory practices, and to deal directly with the cumulative effect of

discrimination, the gap that now exists between those who had the full array of services at USDA,

the full array of programs at USDA, and those who, for far too long, have not had that array.” 72

        54.     The Secretary further acknowledged that “clearly more needs to be done to drive

our efforts deeper.”73 Foremost, he continued, the USDA “must redress the discrimination that has

proven to be systemic, evidently reflecting the way we have designed or implemented our

programs.”74 The Secretary observed that by focusing on whether farmers could prove “specific,

individualized discrimination,” the USDA had “failed to do the necessary work tailored to

addressing the systemic discrimination socially disadvantaged producers face.” 75 The “systemic

racism and discrimination perpetuated against Black Farmers, and the history of discrimination

against Black Farmers by USDA,” he continued, “has prevented numerous African-Americans,

among other people of color, from fully realizing the same level of prosperity and success as their




70
   Id.
71
   A Hearing to Review the State of Black Farmers in the U.S., Prepared Opening Statement of Thomas J. Vilsack
Before the House Committee on Agriculture (Mar. 25, 2021).
72
   A Hearing to Review the State of Black Farmers in the U.S., at 10-11.
73
   A Hearing to Review the State of Black Farmers in the U.S., at 12.
74
   Id.
75
   Id.


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white counterparts.”76

        55.      The next day, on March 26, 2021, FSA Administrator Zach Ducheneaux further

admitted the “systemic discrimination” against minority farmers and ranchers by the USDA:

                 USDA recognizes that socially disadvantaged farmers and ranchers
                 have faced systemic discrimination with cumulative effects that
                 have, among other consequences, led to a substantial loss in the
                 number of socially disadvantaged producers, reduced the amount of
                 farmland they control, and contributed to a cycle of debt that was
                 exacerbated during the COVID-19 pandemic. 77

        56.      Also in March 2021, Congress passed the American Rescue Plan Act of 2021

(ARPA, and also called the COVID-19 Stimulus Package), which among other things,

appropriated funds to the USDA to provide loan forgiveness and other aid to socially

disadvantaged farmers and ranchers. ARPA Section 1005 defined “socially disadvantaged farmer

or rancher” in reference to 7 U.S.C. § 2279(a) as a farmer or rancher “who is a member of a socially

disadvantaged group,” which is further defined as a group “whose members have been subjected

to racial or ethnic prejudice because of their identity as members of a group without regard to their

individual qualities.”78 In turn, the USDA identified those groups as American Indians or Alaskan

Natives, Asians, Black Americans or African Americans, Hispanics or Latinos, and Native

Hawaiians or other Pacific Islanders. 79

        57.      But before the funds could be dispersed, certain white farmers sued in various




76
   Id.
77
   Zach Ducheneaux, Administrator, Farm Service Agency, American Rescue Plan Socially Disadvantaged Farmer
Debt Payments (Mar. 26, 2021), https://www.farmers.gov/blog/american-rescue-plan-socially-disadvantaged-farmer-
debt-payments (last visited Aug. 8, 2023).
78
   7 U.S.C. § 2279(a)(5) and (6).
79
   See Notice of Funds Availability; ARPA 2021 § 1005 Loan Payment, 86 Fed. Reg. 28329, 28330 (May 26, 2021).
See also Outreach & Assistance for Socially Disadvantaged Farmers & Ranchers Program, 66 Fed. Reg. 21617-01
(Apr. 30, 2001); Livestock Indemnity Program & Gen. Provisions for Supplemental Agricultural Disaster Assistance
Programs, 74 Fed. Reg. 31567 (July 2, 2009); Conservation Reserve Program; Transition Incentives Program, 75 Fed.
Reg. 27165 (May 14, 2010).


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jurisdictions claiming that the USDA was improperly excluding them from the Section 1005

program. On April 26, 2021, for example, Sid Miller, a white farmer and rancher in Erath, County,

Texas, filed a class-action lawsuit against the USDA, alleging that the USDA had engaged in

unconstitutional discrimination by excluding white farmers and ranchers from the definition of

“socially disadvantaged farmers and ranchers” (hereinafter Miller v. Vilsack).80

         58.      Likewise, on May 18, 2021, Scott Wynn, a white farmer in Jennings, Florida,

individually sued Secretary Vilsack and FSA Administrator Ducheneaux, making similar

allegations of racial discrimination with respect to the USDA’s implementation of Section 1005

(hereinafter Wynn v. Vilsack).81

         59.      On June 4, 2021, in opposition to Mr. Wynn’s Motion for Preliminary Injunction

in Wynn v. Vilsack, the USDA expressly admitted the agency’s past and ongoing discrimination

against minority farmers in its loan programs. “In fact,” the USDA argued, “the evidence

indicates…that throughout USDA’s history and up to present day, minority farmers have been

‘hurt’ more than helped due to discrimination in USDA’s farm loan programs.” 82 The USDA

argued that “[m]inority farmers have long experienced inequities in FSA’s administration of farm

loans, including with respect to loan approval rates, amounts, and terms.” 83

         60.      In support of its argument, the USDA quoted the Chairman of the House

Agriculture Committee, Representative David Scott, stating on February 26, 2021, that “the

systemic discrimination against farmers of color by USDA is longstanding and well-documented




80
   Plaintiff’s Class-Action Complaint at 2, 6 (Apr. 26, 2021), Miller v. Vilsack, No. 21-cv-00595-O (N.D. Tex.) (ECF
No. 1).
81
   Complaint (May 18, 2021) Wynn v. Vilsack, No. 21-cv-00514 (M.D. Fla.) (ECF No. 1).
82
   Gov’t’s Resp. in Opp’n to Pl.’s Mot. for Prelim. Injunction at 4-5 (June 4, 2021), Wynn v. Vilsack, No. 21-cv-00514
(M.D. Fla.) (ECF No. 22) (citations omitted) (emphasis added).
83
   Id. at 5 (citations omitted).


                                                         21
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and continues to present barriers for these producers to participate in the agricultural economy.” 84

The USDA argued that its discrimination against minority farmers “was not limited to their

inability to obtain USDA loans,” but they have “also received smaller loan amounts, had those

amounts arbitrarily reduced, were subject to inordinate approval wait times that adversely affected

their ability to repay the loans, were denied opportunities to avoid foreclosure, and were often

assigned ‘supervised’ loans that required white loan officers to approve and co-sign every

transaction.”85

         61.      Likewise, on July 11, 2021, in opposition to the plaintiff’s Motion for Preliminary

Injunction in Miller v. Vilsack, the USDA again starkly admitted that “the evidence indicates…that

throughout USDA’s history and up to the present day, minority farmers have been ‘hurt’ more

than helped due to discrimination in USDA’s farm loan programs.” 86 The USDA again cited to

and relied on Chairman Scott’s statement that “systemic discrimination against…farmers of color

by USDA is longstanding and well-documented and continues to present barriers for these

producers to participate in the agricultural economy.”87 And the USDA catalogued what it

described as “persuasive evidence of lingering discrimination” in its own programs, citing “recent

reports” documenting continued discrimination against farmers of color. 88

         62.      On July 1, 2021, the district court granted Mr. Miller’s Motion for Class

Certification and Mr. Miller’s Motion for Preliminary Injunction. 89

         63.      On March 11, 2022, the USDA filed a Motion for Summary Judgment. Arguing


84
   Id. at 8 (citations, internal quotations, and alterations omitted).
85
   Id. at 37.
86
   Gov’t’s Resp. in Opp’n to Pl.’s Mot. for Prelim. Injunction at 4 (June 11, 2021), Miller v. Vilsack, No. 21-cv-00595-
O (N.D. Tex.) (ECF No. 27).
87
   Id. at 16.
88
   Id. at 34-35.
89
   Order (July 1, 2021), Miller v. Vilsack, No. 21-cv-00595-O (N.D. Tex.) (ECF No. 60).


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that Section 1005 was justified to “remedy the lingering effects of past discrimination against

minority farmers in the administration of USDA loan programs,” the USDA described the

“evidence” of its own discrimination as follows:

                 First, is well documented that FSA itself historically engaged in
                 discriminatory practices with devastating effects on minority
                 farmers. Second, more recent analysis establishes that the effects of
                 that past discrimination persist in the present day, in the form of
                 smaller farms, lower capitalization, higher debt ratios, and greater
                 financial instability, including higher rates of delinquency and
                 foreclosure, for minority farmers. Third, past remedial efforts have
                 failed to address these lingering effects and in some cases only
                 exacerbated them.90

The USDA admitted that discrimination had “become ingrained in the agency’s problems,” citing

evidence including the 2011 Jackson Lewis report. 91 The USDA further cited a letter by a group

of agriculture scholars for its explanation of how, through its payment programs, the USDA

rewards “‘the largest farms the most,’” which “has naturally excluded minority farmers and caused

them to ‘fall further behind.’”92

        64.      Arguing in support of its Motion for Summary Judgment, the USDA admitted to

“clearly identified, well-documented, and repeated discriminatory actions by FSA officials in the

administration of USDA’s loan programs, not discrimination in society more broadly.” 93 The

USDA recognized “current statistical disparities” that it claimed “are useful for measuring whether

and to what extent minority farmers continue to experience the effects of discrimination in USDA

loan programs.”94




90
   Gov’t’s Memo. in Support of Mot. for Summ. J. at 8 (Mar. 11, 2022), Miller v. Vilsack, No. 21-cv-00595-O (N.D.
Tex.) (ECF No. 168).
91
   Id. at 20.
92
   Id. at 24, quoting 167 Cong. Rec. S1266.
93
   Id. at 33.
94
   Id. at 33.


                                                       23
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           65.      In further support of its Motion for Summary Judgment, the USDA submitted

several reports. The first was a Declaration from William D. Cobb, a 37-year veteran of the USDA

currently acting as the Deputy Administrator for Farm Loan Programs, with oversight

responsibilities over the FSA’s direct and guaranteed lending programs. 95 Among other things,

Mr. Cobb opined as follows:

                    The USDA has a well-documented history of discrimination against
                    minority farmers and ranchers in the administration of its various
                    Farm Loan Programs. This historical discrimination continues to
                    have observable effects on minority communities.96

Mr. Cobb further acknowledged that minority farmers “continue to be underrepresented in certain

USDA programs.”97

           66.      The USDA further attached the Expert Report of Dr. Alicia Robb, an economist

who had served with federal agencies including the U.S. Small Business Administration, the

Federal Reserve, and the U.S. Census Bureau. The USDA retained her to “evaluate the anecdotal

and statistical evidence of discrimination against minority farmers in USDA’s lending programs”

and render an opinion about “whether there are any lingering effects of this past discrimination

that disadvantage individual groups of minority farmers in the present day.” 98

           67.      After reviewing “numerous” non-governmental and governmental reports, which

included audits, census data, loan data, and other information, Dr. Robb found as follows:

                    1) These materials and data provide substantial evidence of past
                       discrimination against minority farmers in USDA loan
                       programs.



95
     Declaration of William D. Cobb (Mar. 11, 2022), Miller v. Vilsack, No. 21-cv-00595-O (N.D. Tex.) (No. 168-1) at
1.
96
   Declaration of William D. Cobb, at 3.
97
   Declaration of William D. Cobb, at 18.
98
   Expert Report of Alicia M. Robb, Ph.D. (Jan. 7, 2022), Miller v. Vilsack, No. 21-cv-00595-O (N.D. Tex.) (No. 168-
2) at 1.


                                                         24
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                  2) These materials and data reveal large and adverse disparities
                     between minority and non-minority farmers today.

                  3) These disparities cannot be explained solely by differences
                     between minority and non-minority farmers or other factors
                     untainted by discrimination.

                  4) Instead, these disparities are consistent with what one would
                     expect given both the well-established historical discrimination
                     in USDA’s loan programs and the nature of credit markets and
                     the agricultural sector.99

         68.      Dr. Robb described how the USDA’s discriminatory practices had permeated the

entire loan application process:

                  This discrimination manifested in many ways throughout the loan
                  cycle, including disparate treatment in: 1) outreach and education
                  about existing loan programs and eligibility; 2) assistance with loan
                  applications; 3) processing time for applications; 4) loan application
                  approvals; and 5) post-disbursement loan servicing. In addition,
                  various reports indicated that minority farmers were given
                  additional requirements, such as needing a joint signature of an FSA
                  representative for withdrawing funds for expenses, which were not
                  typically imposed on white farmers. The evidence tells a clear story:
                  For decades, USDA discriminated against minority farmers in
                  numerous ways in administering its loan programs. 100

         69.      Dr. Robb stated that discriminatory conduct could harm a farmer “for decades.” 101

         70.      Dr. Robb observed that the “present-day disparities are consistent with the expected

effects of the well-documented and systemic historical discrimination in the provision of USDA

loans and technical assistance to minority farmers and are not solely the product of race-neutral

factors untainted by discrimination.”102


99
   Id. at 5.
100
    Id. at 6-7.
101
    Id. at 7.
102
    Id. at 8. See also, id. at 42 (“These disparities and other lingering effects are consistent with the well-documented
and systemic discrimination in the provision of USDA loans and technical assistance to minority farmers and are not
solely the product of race-neutral factors untainted by discrimination.”); id. at 82 (“The disparities between minority
and non-minority farmers today cannot be explained solely by differences in factors untainted by discrimination. These
disparities are instead consistent with what one would expect given historical discrimination against minority farmers


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         71.      The evidence Dr. Robb cited included “myriad anecdotal accounts” of the USDA

not providing the “same levels of assistance to minority farmers,” including:

                  -    USDA denying minority farmers’ loan applications at higher
                       rates, arbitrarily, and sometimes without explanation;

                  -    Minority farmers receiving USDA loans that were smaller, on
                       less favorable terms, arriving too late to be useful for that year’s
                       operations, and/or with additional requirements not imposed on
                       white farmers;

                  -    Minority farmers receiving USDA loans and then having their
                       loans arbitrarily reduced; [and]

                  -    USDA not informing minority farmers of loan servicing options
                       or providing the same levels of loan servicing to minority
                       farmers[.]103

         72.      Dr. Robb further observed “substantial evidence” that discrimination in USDA loan

programs has caused minority farmers to become “discouraged borrowers” who are “less likely to

seek future USDA assistance precisely because of past USDA discrimination and a resultant lack

of trust.”104 Such borrowers, Dr. Robb observed, “expect unfair treatment by USDA.” 105 Looking

at the data, Dr. Robb concluded that there were “large numbers of discouraged borrowers.”

         73.      Dr. Robb further observed how “other factors are themselves strongly correlated

with other effects of discrimination,” explaining:

                  For instance, many government programs tend to favor large farms,
                  such as programs for certain crops that are economically feasible
                  only at large scale. Large farms are disproportionately farmed by
                  whites, who therefore receive a disproportionate share of the
                  benefits of those programs. As discussed above, however, the


in USDA’s loan programs and the nature of agricultural credit markets.”); id. at 90 (“[T]here are significant disparities
between the acreage of minority farms and non-minority farms; between the market value of products sold by minority
farmers and non-minority farmers; and between the net income of minority farmers and non-minority farmers. These
large disparities, across several relevant metrics, strongly suggest that discrimination in agricultural lending markets,
including by USDA, is a primary explanation.”).
103
    Expert Report of Alicia M. Robb, Ph.D., at 111.
104
    Expert Report of Alicia M. Robb, Ph.D., at 8, 92.
105
    Id. at 92.


                                                          26
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                 smaller size of minority farms in terms of acreage and revenue is
                 likely due in no small part to historical discrimination in USDA
                 loan106 programs that have deprived minority farmers of necessary
                 credit and services.107

        74.      Dr. Robb concluded that, according to the economic data, the USDA was still not

providing minority farmers adequate access to government funds:

                 Given that minority farmers are in an economically disadvantaged
                 position vis-à-vis white farmers, one would expect to see
                 government payments going disproportionately to minority farmers.
                 Instead, we see the opposite. …[I]n 2017, white farmers received
                 nearly all (98.6%) of government payments, while farmers in each
                 of the minority groups received less in government payments than
                 their corresponding share of farms.108

        75.      On August 29, 2022, with summary judgment motions still pending, the parties in

Miller v. Vilsack jointly entered a stipulation of dismissal shortly after Congress repealed Section

1005. (Dkt. 236.)109

        76.      In place of Section 1005, Congress amended ARPA Section 1006 to include

financial assistance for farmers or ranchers “determined to have experienced discrimination prior

to January 1, 2021,” in USDA lending programs, subject to “standards set and enforced by the

Secretary.”110 On July 7, 2023, the USDA opened an application process for the Section 22007

financial assistance under a program it calls the Discrimination Farmer Assistance Program

(“DFAP”). DFAP defines “discrimination” as “treating some people differently from others, for

illegitimate reasons,” and includes several examples of the agency’s misconduct: “failure to

provide appropriate assistance; delay in processing a loan or loan servicing application; denial of




106
    Expert Report of Alicia M. Robb, Ph.D., at 92-93.
107
    Expert Report of Alicia M. Robb, Ph.D., at 93.
108
    Expert Report of Alicia M. Robb, Ph.D., at 99.
109
    See Inflation Reduction Act § 22008, PL 117-169, Aug. 16, 2022, 136 Stat 1818 (repealing ARPA Section 1005).
110
    Id. at § 22007.


                                                      27
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a loan or loan servicing; prevention from applying for a loan or loan servicing; adverse loan terms;

[and] unduly onerous supervision of loan requirements.” 111 DFAP requires applicants to fill out a

ten-step application and provide specific evidence of discrimination by USDA in USDA farm

lending before January 1, 2021.112

        77.      DFAP has significant limitations. It is not intended to provide full relief or

compensation for the USDA’s discriminatory conduct and provides no relief for discrimination

that has occurred since January 1, 2021. Thus, Congress expressly declined to address USDA

discriminatory actions occurring after January 1, 2021. DFAP did not preclude minority farmers

from seeking redress under the Equal Credit Opportunity Act, 15 U.S.C. § 1691(a), and did not

address discrimination in USDA programs besides lending. It also did not adopt any directives or

requirements to reform USDA’s longstanding discriminatory practices. In sum, DFAP provides

yet another clear acknowledgment of the serious harm inflicted on farmers of color by

discriminatory practices by the USDA, without fully redressing or fixing the problem.

        D.       Evidence of the USDA’s Recent and Ongoing Discrimination

        78.      In Miller v. Vilsack and similar cases, despite acknowledging and even relying on

the volumes of evidence about present-day disparities and systemic discrimination within its loan

and aid programs, the USDA was for the most part only willing to acknowledge its discriminatory

conduct in terms of the “persistent effects of past discrimination.”113 Nevertheless, the arguments



111
    Application for Financial Assistance Inflation Reduction Act Section 22007 USDA Discrimination Financial
Assistance Program (last updated 7/20/2023), supra note 3, at iii-iv.
112
    Id. at ix-x.
113
    See, e.g., Gov’t’s Memo. in Support of Mot. for Summ. J. at 13 (Mar. 11, 2022), Miller v. Vilsack, No. 21-cv-
00595-0 (N.D. Tex.) (ECF No. 168). Intervenors including the Federation of Southern Cooperatives, the Land
Assistance Fund, the National Black Farmers Association, and the Association of American Indian Farmers attempted
to fill that gap by arguing and presenting evidence that the USDA was still discriminating against Black and other
minority farmers. See Mem. of Law in Supp. of Mot. to Intervene of the Fed’n of S. Cooperatives/Land Assistance
Fund (supported by declarations from individual farmers) at 8 (Oct. 12, 2021) Miller v. Vilsack, No. 21-cv-00595-O
(N.D. Tex.) (ECF No. 93-1) (“The Federation has gathered data on discriminatory practices by local FSA offices


                                                       28
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and evidence that the USDA advanced in those cases lead to the inescapable conclusion that this

systemic discrimination did not somehow cease to exist at some point in time, but instead is still

very much extant and engrained in the USDA’s loan and aid programs.

        79.      In fact, while the agency’s litigation expert, Dr. Alicia Robb, was only asked to

assess the “lingering effects of [USDA’s] past discrimination,” she nevertheless found that state-

specific data from 2017 to 2019 showed disparities that were not explainable by race-neutral

factors.114 In particular, the data reflected ongoing disparate impacts, despite showing “no clear

delineation” in experience levels between minority and non-minority farmers, and even that

minority farmers were “more likely to be engaged in farming as a primary occupation than

whites.”115 According to Dr. Robb, “[t]he disparities between minority and non-minority farmers

today cannot be explained solely by differences in factors untainted by discrimination.” 116 In fact,

according to Dr. Robb, “the data show disparities—some of them quite significant—that persist

today.”117 Nowhere does either Dr. Robb or the USDA ever attempt to assert that at some point in

time its discriminatory conduct somehow ceased.

        80.      Nor can the USDA point to any institutional change or reform that might be

expected to eradicate the policies and practices that foster discrimination by the agency. To the

contrary, the USDA’s own actions continue to illustrate that discrimination very much remains

ongoing in the agency’s operations and requires remedial action. For example, on April 14, 2022,

the USDA announced an “Equity Action Plan,” which purported to commit the USDA to “rooting



through countless reports of Black farmers who have had an FSA loan application denied, even if the farmer has
significant farming experience, sufficient credit history, and ability to pay back an FSA loan.”)
114
    Expert Report of Alicia M. Robb, Ph.D. (Jan. 7, 2022), Miller v. Vilsack, No. 21-cv-00595-O (N.D. Tex.) (No.
168-2) at 1, 76.
115
    Expert Report of Alicia M. Robb, Ph.D., at 78-80 (emphasis in original).
116
    Expert Report of Alicia M. Robb, Ph.D., at 82.
117
    Expert Report of Alicia M. Robb, Ph.D., at 93.


                                                      29
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out systemic racism” and serve as “an initial roadmap for making sure our programs and services

are accessible.”118 While the agency’s efforts in this regard are commendable, the stated need for

such a plan stands as one further and unfortunate acknowledgement that the agency has still not

yet “root[ed] out systemic racism” in its programs.

        81.      Moreover, the USDA’s own data continue to show that systemic discrimination in

USDA’s lending and funding programs is anything but a relic of the past. Despite the decades of

reports, analyses, and confessions documenting the agency’s abhorrent discriminatory conduct,

and despite the agency’s many vows that it will mend its ways, systemic discrimination at the

USDA continues to infect and permeate the USDA’s lending and funding programs.

        82.      The data cited by Dr. Robb only begins to tell the whole story. In particular, the

USDA’s loan data from FY2017 and well into FY2022 show that approval rates for loan

applications from Black farmers–which in 2017 were already more than 20% lower than approval

rates for white farmers–dropped sharply after 2019, from about 48% to only 33%, whereas

approval rates for white farmers remained relatively flat at about 70%.

        83.      Controlling for average farm value, income, productivity, and other relevant

factors, the data show that the proportion of farms with direct loans in a given area remains

negatively correlated to the percent of farms with Black producers. 119 These findings are not only

consistent across these years, but the disparity increases significantly in fiscal years 2021 and 2022.

In other words, despite the USDA’s admissions of its discriminatory “past,” the disparate impact

of its direct loan program on Black farmers and ranchers not only continues, but in recent years

has gotten even worse. In fact, according to the USDA’s data, and after controlling for farm



118
    USDA Releases Equity Action Plan (Apr. 14, 2022), https://www.usda.gov/media/press-releases/2022/04/14/usda-
releases-equity-action-plan (last visited Aug. 8, 2023) (quoting Secretary Vilsack).
119
    Plaintiffs obtained USDA loan data through a FOIA request, and the USDA provided data through May 2022.


                                                      30
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characteristics and creditworthiness, the higher the representation of Black farm producers in a

given county, the lower both the proportion of farms that receive direct loans and the lower the

average loan amount. These findings are consistent over time and across regions.

        84.      This disproportionate treatment in the data cannot be explained by a decrease in the

proportion of Black farmers applying for loans. In fact, the percentage of loan applications by

Black farmers has increased since 2019, and in 2021 it was at a five-year high. Instead, these

disparities are consistent with and evidence of ongoing discriminatory treatment in the USDA’s

loan programs.

        85.      Two separate analyses have confirmed the strong evidence of ongoing racial

disparities in the USDA’s own loan data. As stated in one analysis:

                 Rejection rates for loans from the USDA were comparable for White
                 farmers and for all non-White farmers in 2017 but diverged sharply
                 after 2019, according to 2017-21 fiscal year USDA data obtained by
                 CNN through a Freedom of Information Act request. The
                 divergence is primarily driven by higher rejections for Black and
                 Asian farmers.

                 Only 2% of farmers of color and 4% of Black farmers were denied
                 loans from USDA-approved lenders in 2021, the data shows. But
                 for direct loans from the USDA itself, a program the agency says is
                 designed to provide financing for farmers unable to find it
                 elsewhere, denials were much higher. The agency denied funds to
                 20% of all farmers of color and 42% of Black farmers in 2021. 120

        86.      As stated in another recent analysis: “The agency granted loans to only 37 percent

of Black applicants last year in one program that helps farmers pay for land, equipment and repairs

but accepted 71 percent of applications from white farmers, according to a POLITICO analysis of




120
   Chandelis Duster and Jamie Boschma, Many Black farmers nationwide struggling to keep their families afloat as
they face disparities across the board, CNN (Dec. 5, 2021), https://www.cnn.com/2021/12/15/politics/black-farmers-
debt-relief-disparities/index.html (last visited Aug. 8, 2023).


                                                       31
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USDA data.”121 Additional recent reporting found that,

        In 2022, the department granted direct loans to only 36% of farmers who identified
        as Black, according to an NPR analysis of USDA data that looked at how many
        direct loan applications were accepted, rejected or withdrawn per each racial group.
        Direct loans are supposed to be among the easiest to get at USDA. They are meant
        for farmers who can't get credit elsewhere and can be used to get land, farming
        equipment or other operational costs needed to keep the business afloat. In contrast,
        72% of white farmers who applied were approved. 122

        87.      Another practice of the USDA that results in discriminatory treatment of Black

farmers relates to the justification the USDA gives for denying loans. According to the USDA, the

primary and consistent justification the USDA has given Black farmers for their loan denials is

“Unacceptable credit history – pattern of bad credit within applicant’s control.” In other words,

while on one hand the USDA fully acknowledges its history of rampant discrimination and the

massive economic impact this has had on Black farmers, on the other it continues to deny them

adequate and equal access to direct loans while blaming them for lacking sufficient credit, thereby

perpetuating the agency’s discriminatory treatment.

        88.      The agency’s ongoing discriminatory practices are not only expressed in approval

rates and loan terms, they manifest in many other ways as well, including through improper

requests and unreasonable delays in the application process as well as unreasonable delays in the

disbursement of funds and unwarranted requirements attached to repayment. As a result of these

delays, Black farmers are often not able to plant crops until well into the growing season,

subjecting them to substantial risk and significant damage to their yields and profits.

        89.      The evidence of ongoing discrimination present in the agency’s own loan data is



121
    Ximena Bustillo, ‘Rampant issues’: Black farmers are still left out at USDA, POLITICO (July 5, 2021, 7:00 a.m.),
https://www.politico.com/news/2021/07/05/black-farmers-left-out-usda-497876 (last visited Aug. 8, 2023).
122
    Ximena Bustillo, In 2022, Black farmers were persistently left behind from the USDA’s loan system, NPR (Feb.
19, 2023, 10:36 a.m.), https://www.npr.org/2023/02/19/1156851675/in-2022-black-farmers-were-persistently-left-
behind-from-the-usdas-loan-system (last visited Aug. 8, 2023).


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especially disturbing given the USDA’s acknowledgments regarding the financial challenges faced

by minority farmers in combination with the agency’s role as a lender of last resort. The USDA

well knows that these farmers have nowhere else to turn, yet it continues the same practices and

policies that it well knows result in disparate impact. In sum, while the agency’s pronouncements

and admissions about its discriminatory “past” are an important step forward, the fact remains that

systemic discrimination is still a real and ongoing problem that the USDA has yet to resolve.

        E.       The USDA’s Market Facilitation Program (“MFP”)

        90.      In 2018 and 2019, USDA authorized the FSA to distribute more than $20 billion

through the MFP to compensate farmers for the economic impacts associated with tariffs and the

country’s escalating trade dispute with China, among other countries. As the FSA explained it, the

MFP was designed to provide “direct payments to help producers who have been directly impacted

by illegal retaliatory tariffs.”123 The USDA only made payments available to eligible producers of

specified commodities of its determination. 124

        91.      The creation and implementation of MFP departed from traditional policymaking

procedure in that it was unilaterally implemented by the Executive Branch without any

Congressional approval.125 Indeed, it has been widely reported that the MFP was designed by the


123
    Farm Service Agency, Market Facilitation Program Fact Sheet, Sept. 2019.
124
    See id.
125
    Congressional Research Service, Farm Policy: USDA’s 2019 Trade Aid Package (Updated Nov. 26, 2019),
https://crsreports.congress.gov/product/pdf/R/R45865 (“USDA’s use of CCC [i.e., Commodity Credit Corporation]
authority to initiate and fund agricultural support programs without congressional involvement is not without
precedent, but the scope and scale of its use for the two trade aid packages—at $28 billion—has increased
congressional and public interest.”); Farm Policy: Comparison of 2018 and 2019 MFP Programs, (Aug. 12, 2019),
IF11289.pdf (congress.gov) (“During 2018 and 2019, the U.S. Department of Agriculture (USDA) announced two
rounds of trade aid valued at a combined $28 billion. USDA is using its authority under the Commodity Credit
Corporation (CCC) Charter Act to establish and fund the trade aid packages.”); Dan Charles, Farmers Got Billions
From Taxpayers In 2019, And Hardly Anyone Objected, NPR (Dec. 31, 2019, 4:13 p.m.),
https://www.npr.org/sections/thesalt/2019/12/31/790261705/farmers-got-billions-from-taxpayers-in-2019-and-
hardly-anyone-objected (“Yet the USDA created this new program out of thin air; it decided that an old law
authorizing a USDA program called the Commodity Credit Corp. already gave it the authority to spend this money.”);
USDA Economic Research Service, Agricultural Income and Finance Situation and Outlook: 2021 Edition (Nov.
2021), https://www.ers.usda.gov/webdocs/publications/102670/eib-228.pdf?v=9951 at 23 (“The Market Facilitation


                                                       33
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Administration of President Trump to avoid political fallout from an important source of the

Administration’s political support.126 The MFP was designed, implemented, and administered

without any specific congressional appropriation or statutory guidance regarding how the funds

should be distributed.

        92.      In 2018, the USDA distributed about $8.6 billion in payments under the MFP. 127 In

2019, the USDA distributed about $14.4 billion in payments under the MFP. 128

        93.      Virtually all MFP payments went to white farmers. In fact, a comprehensive

analysis of the distribution of funds from the MFP data provided by the USDA revealed that white

farmers received over 99.5% of the funds disbursed by the USDA, and that white farmers received,

on average, an MFP payment ten times larger than Black farmers. 129 According to that study, white

farmers received a total of about $21 billion, and Black farmers received only about $38 million. 130

        94.      The existence of a discriminatory purpose is a reasonable and justified inference

given the stark inequities perpetuated by the MFP. Indeed, it is difficult to explain the outcome on


Program (MFP) was authorized by President Trump and USDA Secretary Purdue (USDA, OCE, 2018) in 2018 in
response to retaliatory trade actions by China and other major trade partners. It was designed to provide support to
producers to adjust to trade disruptions.”); id. (“MFP was designed and implemented as an ad hoc program”)
126
    See, e.g., Stuart Anderson, Trump Tariff Aid To Farmers Cost More Than U.S. Nuclear Forces, Forbes (Jan. 21,
2020, 12:11 a.m.), https://www.forbes.com/sites/stuartanderson/2020/01/21/trump-tariff-aid-to-farmers-cost-more-
than-us-nuclear-forces/?sh=1bb5e896c501 (last visited Aug. 8, 2023) (“To shore up support from farmers, Donald
Trump approved increasing amounts of government aid to farmers harmed by trade policies that the Trump
administration itself initiated. Trump was open about the purpose of the payments.”).
127
    Government Accountability Office, USDA Market Facilitation Program: Stronger Adherence to Quality Guidelines
Would Improve Future Economic Analyses at n. 3 (Nov. 2021) GAO-22-468.
128
    Id.
129
    Jared Hayes, USDA Data: Nearly All Pandemic Bailout Funds Went to White Farmers | Environmental Working
Group (“EWG”) (Feb. 18, 2021), available at https://perma.cc/PVZ7-QMFD (last visited Aug. 8, 2023); see also
Donald Carr, Trump’s Farm Bailout Program Continue USDA’s Racist Legacy (July 11, 2019),
https://www.ewg.org/news-insights/news/trumps-farm-bailout-program-continues-usdas-racist-legacy (last visited
Aug. 8, 2023) (“According to EWG’s Farm Subsidy Database, in 2018 the largest 10 percent of MFP recipients
received more than half of total payments. Rather than adopt strict payment and income limits, as the Trump
administration proposed for farm subsidies in its FY 2019 and FY 2020 budget requests, the administration instead
chose to apply the same broken rules that for decades have funneled farm subsidies to the biggest farms. These rules
are especially unfair to African-American, Latino and Latina, and Asian farmers, who tend to have smaller operations
than white farmers – and are less likely to be eligible for government farm supports at all.”).
130
    Id.


                                                        34
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any grounds other than discriminatory intent. Moreover, the U.S. Senate Committee on

Agriculture, Nutrition, and Forestry (“Senate Agriculture Committee”) recognized that the

program was intentionally designed by the USDA to pick “winners and losers.” 131 As a report by

the Senate Agriculture Committee noted, the design of the MFP resulted in widely varying

payments for similarly situated farms. Among other intentional decisions, the USDA targeted

payments at a county level, favored large operations, and disproportionately awarded subsidies

based on type of crop. All such decisions were made in the face of data and facts establishing that

the USDA’s chosen criteria would disadvantage farmers of color.

        95.     Moreover, while the stark pattern of disparate treatment of Black farmers in the

MFP speaks for itself, Plaintiffs further allege—based on information, belief, and available

reporting—that the MFP intentionally sought to maximize payments based on political

considerations. In short, the MFP’s disparate treatment of Black farmers was by design.

        96.     According to the GAO, total MFP payments and payment rates varied widely

among commodities and regions.132 The GAO concluded that in calculating MFP payments the

USDA used flawed methodologies that were not transparent to decision makers and the public. 133

        97.     Another analysis of MFP data also concluded that the funding disparities were due

to discriminatory practices:

                The MFP has almost exclusively benefitted white men and their
                families, who appear to be disproportionately upper middle-class or
                wealthy. These payments further entrench already drastic
                inequalities in agriculture, along racial, ethnic, gender, and class


131
    Senate Agriculture Committee , President Trump’s “Aid Not Trade” Policy: Skewed Payments Choose Winners
and     Losers,    Fail    to    Help    Farmers    Hit    the    Hardest    (Nov.    2019)   Available   at
https://www.agriculture.senate.gov/imo/media/doc/MFP%20Report%20FINAL.pdf.
132
    USDA Market Facilitation Program: Stronger Adherence to Quality Guidelines Would Improve Future Economic
Analyses, at 1.
133
    USDA Market Facilitation Program: Stronger Adherence to Quality Guidelines Would Improve Future Economic
Analyses at What GAO Found.


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                  lines. These disparities are the result of historical and recent
                  discrimination.134

Likewise, the USDA’s expert has explained how the design of the MFP disproportionately

benefitted white farmers to the detriment of farmers of color. 135 As Secretary Vilsack

acknowledges, the resulting racial disparities in the MFP are yet another example of “systemic

discrimination against [B]lack farmers.” 136

         98.      Exacerbating the USDA’s deliberate design of the MFP to benefit certain farming

operations over others, the administrative apparatus used to facilitate applications for MFP funds

continued the USDA’s policy and practice of decentralized authority–i.e., reliance on local USDA

offices. For so many USDA subsidy programs, access to funds often starts with education,

information, applications, and assistance from USDA officials. Knowing that Black farmers have

been consistently mistreated at the local level, the USDA has chosen to perpetuate significant

inequities in its subsidy programs like the MFP by continuing to allocate such information,

assistance, and office resources through local offices. The MFP encapsulated the egregious




134
    Nathan Rosenberg & Bryce W. Stucki, USDA Gave Almost 100 Percent Of Trump’s Trade War Bailout To White
Farmers, Farm Bill Law Enterprises (July 24, 2019), https://www.farmbilllaw.org/2019/07/24/usda-gave-almost-100-
percent-of-trumps-trade-war-bailout-to-white-farmers/ (last visited Aug. 8, 2023).
135
    Cobb Decl. ¶ 52 (Mar. 11, 2022), ECF No. 168-1, Miller v. Vilsack, No. 21-cv-00595-O (N.D. Tex.) (“Minority
farmers are disproportionately less likely to participate in or benefit from certain types of financial assistance that
USDA offers in part because minority farmers generally have smaller farms, and therefore receive a disproportionately
small share of funds provided through USDA payment programs, many of which, like the recent Market Facilitation
Program discussed in more detail below, are based on crop-acreage or are targeted to crops typically grown on large
farms.”); id. ¶ 59 (“[T]he Market Facilitation Program (MFP) provided direct payments to farmers impacted by foreign
retaliatory trade practices, resulting in the loss of traditional markets, in 2018 and 2019. However, the program tended
to benefit larger farms, and for MFP payees and payments for 2018 and 2019, minorities accounted for an average of
8,733 payees per year (1.4%) and an average of $116.50 million in payments per year (1%).”).
136
    Ariana Figueroa, House Agriculture panel probes ‘systemic’ USDA discrimination against Black farmers, Virginia
Mercury (Mar. 26, 2021, 11:12 a.m.), https://www.virginiamercury.com/2021/03/26/house-agriculture-panel-probes-
systemic-usda-discrimination-against-black-farmers/ (last visited Aug. 8, 2023), (“‘The history of systemic
discrimination against Black farmers has been well-documented,’ Vilsack, the former governor of Iowa, said in his
opening statement. ‘Despite all that has been done, clearly more needs to be done to drive our efforts deeper.’ Vilsack
pointed out that just 0.1% of Black farmers received any of the $26 billion in economic relief that went to farmers in
a Trump administration USDA program that used funds from a COVID-19 bill and other sources. Of that portion,
only $20.8 million went to Black farmers.”).


                                                          36
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inequities that repeatedly result from this failed policy. The MFP continued the USDA’s

longstanding policy of using local offices as the gatekeepers for federal subsidy programs, while

knowing exactly how such local control ends—with discrimination against Black farmers. Thus,

the USDA’s policy choices related to the MFP continued its pattern of perpetuating unequal access

to funds by race, while knowing that such results are the inevitable result of those choices.

           99.    Indeed, the agency has expressly admitted that MFP funds did not “reach minority

farmers equitably.”137 That result occurred both through the design of the MFP and USDA

continuing its pattern of enabling discriminatory administration of its programs through local

offices.

           100.   Both years of the MFP were skewed toward large farms, which are predominantly

owned by white farmers.138 The continued pattern of directing subsidies to large farming

operations perpetuates and builds on decades on discrimination that have advantaged white

farmers. With white famers having a significant head start in terms of the size, profitability, and

efficiency of their operations, the MFP made a deliberate decision to further the advancement of

those already in possession of that head start. 139

           101.   Racial discrimination in the design and administration of the MFP has been widely

recognized:


137
    Cobb Decl. ¶ 83 (Mar. 11, 2021) ECF No. 168-1, Miller v. Vilsack, No. 21-cv-00595-O (N.D. Tex.).
138
    Expert Report of Alicia M. Robb, Ph.D., at 92-93 (“Furthermore, other factors are themselves strongly correlated
with other effects of discrimination. For instance, many government programs tend to favor large farms, such as
programs for certain crops that are economically feasible only at large scale. Large farms are disproportionately farmed
by whites, who therefore receive a disproportionate share of the benefits of those programs. As discussed above,
however, the smaller size of minority farms in terms of acreage and revenue is likely due in no small part to historical
discrimination in USDA loan programs that have deprived minority farmers of necessary credit and services.”), Miller
v. Vilsack, No. 21-cv-00595-O (N.D. Tex. 2021).
139
    See, e.g., Holman v. Vilsack, No. 21-1085, 2021 WL 2877915, at *6 (W.D. Tenn. July 8, 2021) (“It is undisputed
that the USDA has a sad history of discriminating against certain groups of farmers based on their race. The evidence
in the record reveals systemic racial discrimination by the USDA (and in particular the FSA) throughout the twentieth
century which has compounded over time, resulting in bankruptcies, land loss, a reduced number of minority farmers,
and diminished income for the remaining minority farmers.”).


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                 How does USDA send almost $24 billion in no-strings-attached
                 taxpayer money to U.S. farmers and ranchers in two years and
                 socially disadvantaged farmers and ranchers end up with nothing
                 more than chicken feed?

                 Simple, DOJ notes in its June 18 court filing, “Congress again found
                 . . . the lingering effects of systemic discrimination in USDA
                 programs.”

                 In fact, it added, quoting Senate Ag Committee Chair Debbie
                 Stabenow, a Michigan Democrat, USDA’s “latent barriers and
                 historic discrimination” remain so strong that “73 percent of Black
                 farmers were not even aware of the agricultural aid provision of
                 the[se] coronavirus rescue programs.”140

        102.     The USDA itself notes repeated findings of key legislators as to discrimination in

USDA programs including the recent funding provided by MFP. In particular, as stated by the

USDA:

                 [T]he overwhelming majority of recent agricultural subsidies and
                 pandemic relief prior to ARPA went to non-minority farmers—
                 again, in part due to the lingering effects of discrimination.
                 Specifically, the reporting indicated that 99.4 percent of USDA’s
                 Market Facilitation Program (MFP) payments went to white
                 farmers, see S1264-65; see also id. H766, and nearly 97 percent of
                 the $9.2 billion provided through USDA’s first Coronavirus Food
                 Assistance Program (CFAP) in 2020 likewise went to non-minority
                 farmers, see id. S1264-65; H766. Senator Stabenow explained that
                 “[t]he diminished relationships between [SDFRs] and USDA as a
                 result of both latent barriers and historic discrimination limit[ed]”
                 SDFRs’ access to, and participation in, USDA programs, such that
                 “73 percent of Black farmers . . . were not even aware of the
                 agricultural aid provisions of the[se] coronavirus rescue programs.”
                 Id. S1264. A letter introduced into the record from 13 full-time
                 professors who specialize in agricultural issues explained that
                 federal farm programs “have perpetuated and exacerbated the
                 problem,” by preferring certain crops (those produced by white
                 farmers) and “reward[ing] the largest farms the most” (those owned




140
   Alan Guebert, Here’s what the numbers say about systemic discrimination in the USDA, Farm and Dairy (July 1,
2021) https://www.farmanddairy.com/columns/heres-what-the-numbers-say-about-systemic-discrimination-in-the-
usda/670617.html (last visited Aug. 8, 2023).


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                  by white farmers), thereby “distort[ing] credit, land, input costs, and
                  markets” to the disadvantage of minority farmers. 141

         103.     Evidence of the discriminatory purpose of the MFP is further revealed by the fact

that the racial disparities that resulted through the funding of both programs was entirely

foreseeable and known by the USDA.142

         104.     The discriminatory purpose of the MFP is further evidenced by the existence of

other less discriminatory alternatives. As just one example, USDA could have implemented

payment and income limits, but instead designed the program to subsidize large farms, knowing

the racial impact of that decision and that it perpetuated the cumulative effects of invidious

discrimination by the agency.143 Likewise, the USDA could have implemented outreach efforts



141
    Gov’t’s Resp. to Pl.’s Mot. for Prelim. Injunction at 11 (June 4, 2021), ECF No. 22, Wynn v. Vilsack, No. 21-cv-
00514 (M.D. Fla.).
142
    Expert Report of Alicia M. Robb, Ph.D., at 6 (“I have been asked to review the evidence of discrimination against
minority farmers in USDA’s lending programs, evaluate the data related to the status of minority farmers today, and
opine on whether the data are consistent with the expected effects of the documented history of discrimination against
minority farmers in USDA’s lending programs. Based on my review and analysis, I have concluded that they are.”),
Miller v. Vilsack, No. 21-cv-00595-O (N.D. Tex.); id. at 8 (“These present-day disparities are consistent with the
expected effects of the well-documented and systemic historical discrimination in the provision of USDA loans and
technical assistance to minority farmers and are not solely the product of race-neutral factors untainted by
discrimination.”); id. at 92-93 (“Furthermore, other factors are themselves strongly correlated with other effects of
discrimination. For instance, many government programs tend to favor large farms, such as programs for certain crops
that are economically feasible only at large scale. Large farms are disproportionately farmed by whites, who therefore
receive a disproportionate share of the benefits of those programs. …[H]owever, the smaller size of minority farms in
terms of acreage and revenue is likely due in no small part to historical discrimination in USDA loan programs that
have deprived minority farmers of necessary credit and services.”) id. at 101 (“Reporting indicates that these
disparities are attributable to the fact that agricultural funding tends to favor large farms.”); id. at 101-102 (“[G]iven
the magnitude of these programs—more than $23 billion over two years under the MFP, and nearly $24 billion under
the CFAP—compared to the total amount of minority farmers’ direct and guaranteed loan balances—only about $4
billion (see Table 18)—one can expect the impact of these disparate payments to be significant.”).
143
    Expert Report of Alicia M. Robb, Ph.D., at 5; id. at 8 (“These present-day disparities are consistent with the
expected effects of the well-documented and systemic historical discrimination in the provision of USDA loans and
technical assistance to minority farmers and are not solely the product of race-neutral factors untainted by
discrimination.”); id. at 42 (“These disparities and other lingering effects are consistent with the well-documented and
systemic discrimination in the provision of USDA loans and technical assistance to minority farmers and are not solely
the product of race-neutral factors untainted by discrimination.”); id. at 82 (“The disparities between minority and
non-minority farmers today cannot be explained solely by differences in factors untainted by discrimination. These
disparities are instead consistent with what one would expect given historical discrimination against minority farmers
in USDA’s loan programs and the nature of agricultural credit markets.”); id. at 90 (“[T]here are significant disparities
between the acreage of minority farms and non-minority farms; between the market value of products sold by minority
farmers and non-minority farmers; and between the net income of minority farmers and non-minority farmers. These


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from inception of the program to reduce racial disparities in distribution of MFP funds.

         F.       Plaintiffs’ Experiences Further Confirm Ongoing, Systemic Discrimination

         105.     Plaintiffs’ experiences, including loan denials and discriminatory practices as

recently as this growing season, demonstrate that the USDA continues to perpetuate longstanding

practices that systematically disadvantage and mistreat Black farmers.

         106.     Like so many other Black farmers, Mr. Pride no longer even attempts to obtain

financing from the USDA for crop loans given ongoing issues with USDA crop lending. Within

the last year, Mr. Pride had the opportunity to purchase 160 acres to add to his operation and

pursued a loan from the USDA to facilitate the purchase. The USDA informed Mr. Pride that he

would need to secure the loan with his entire farming operation and land as collateral, an

unreasonable requirement that had no sound economic justification given that his land and

operation are worth far more than the land he sought to acquire. Well-aware of the USDA’s long

history of aggressive foreclosure actions against Black farmers, Mr. Pride was unwilling to risk

his farm that he has spent a career building from scratch. He lost the opportunity to acquire the

land as a result. Mr. Pride’s experience is consistent with longstanding USDA practices of

imposing unreasonably onerous lending requirements on and otherwise discouraging Black

farmers seeking capital loans, hamstringing their ability to expand or improve their operations.

         107.     Having retired from the Army Corps of Engineers and a veteran of military service

eager to return to farming, Mr. Roddy should have been the ideal recipient of a new farm loan.

Instead, the USDA summarily and unreasonably denied his application 10 years ago, forcing him

to borrow from his retirement account to self-fund his operation. Mr. Roddy tried again by

applying for a crop loan for the 2020 growing season and was denied, despite a 10-year track


large disparities, across several relevant metrics, strongly suggest that discrimination in agricultural lending markets,
including by USDA, is a primary explanation.”).


                                                          40
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record of regularly paying back crop loans. When he has received approvals, the approvals arrive

too late in the growing season to impact the productivity of his operation. Lack of access to USDA

lending continues to undermine the profitability of his operation, as he cannot afford to raise more

profitable crops, invest in crop inputs to maximize yields, or buy land.

       108.    Mr. Lee’s farm has been reduced from 700 to 80 acres as a result of his lack of

access to USDA loans. In recent years, the USDA has delayed loan approvals into the planting

season even when it has approved crop loans, which has crippled the profitability of Mr. Lee’s

operation. Prior to the 2023 planting season, the USDA informed Mr. Lee that it would not lend

to him for a period of three years. Based on Mr. Lee’s interactions with the USDA, the decision

was made without a full review of his loan application and for considerations that have nothing to

do with the merits of his loan application. Like others, Mr. Lee has been told that he has been

placed on a blacklist by his USDA office. The impacts of USDA denying and delaying loans have

been devastating. Without access to capital to fully fund planting on 700 acres, he lost his lease

and has been forced to reduce his operation to 80 acres. His farming operation may not survive the

moratorium that the USDA arbitrarily imposed on lending to Mr. Lee.

       109.    Mr. Anderson has experienced discriminatory treatment from the USDA twice in

the past five years. In 2019, he applied for a simple consolidation loan. The USDA responded with

repeated and unwarranted requests for information, resulting in obfuscation and delay that caused

Mr. Anderson to have to abandon his application. In early 2023, Mr. Anderson applied for another

loan. The USDA informed him that his application would be denied because of creditworthiness,

despite Mr. Anderson’s good credit rating, and informed him that he should “withdraw” his

application and apply again in three years. The USDA’s discriminatory lending practices have

severely hindered Mr. Anderson’s ability to operate, to the extent that he cannot afford to maintain




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and update equipment or spend the funds necessary to sufficiently maintain his crops.

       110.    Despite a long track record as a farmer and borrower, Mr. Harris has been unable

to obtain a USDA loan for several years. Over the years, the USDA has slow-walked action on his

loans by delaying review, halting the approval process for technicalities, using the mail to notify

him of purported deficiencies that could be cured by a phone call, and myriad other tactics that

delay or interrupt seasonal planting. The USDA consistently obstructs, rather than facilitates Mr.

Harris’s applications for loans. Mr. Harris’s persistence in attempting to navigate the USDA’s loan

obstruction and denials has included in-person meetings, and during a recent meeting he was

informed that he had been placed on a “blacklist” that has nothing to do with his financial

performance or ability to repay USDA loans. Mr. Harris has lost leases and has faced diminished

productivity due to the lack of access to USDA loans. His operation has been diminished from

3000 to 600 acres, and he fears losing his livelihood altogether based on recent loan denials.

       111.    Collectively, Plaintiffs have been subjected to and suffered from ongoing

discrimination in USDA lending practices that have plagued the agency for years, including

discrimination flowing from the USDA's deliberate policies and practices of decentralized

authority and subjective criteria that, notwithstanding the agency’s knowledge of its history of

racial discrimination, has only subjected Plaintiffs to further and arbitrary discriminatory treatment

at the hands of local USDA loan offices. Not only have Plaintiffs experienced unjustified loan

denials, they have been on the receiving end of obstruction, including processing delays and

admonitions that discourage applications altogether. Plaintiffs’ inability, as a consequence of

Defendants’ conduct, to obtain adequately-funded, timely, streamlined lending as required by law

has severely damaged the size, efficiency, and profitability of their farming operations. Their

operations have shrunk and stagnated through lost opportunities, even as otherwise similarly




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situated white farmers with unfettered, non-discriminatory access to USDA lending have

flourished.

        112.     The USDA’s discrimination against Plaintiffs extended to the MFP program. Given

the design and implementation of the program, Plaintiffs are among the Black farmers who

received little or nothing from the MFP despite suffering serious economic impacts from trade

retaliation against U.S. agricultural products. Plaintiffs were injured by the design and

administration of a program that managed to direct 99.5% of more than $20 billion to white

farmers, even as Plaintiffs were at least as economically vulnerable to fallout from tariffs as white

farmers.

                                         CLASS ALLEGATIONS

        113.     The USDA has already acknowledged the strong basis for class relief. Indeed, when

speaking to an audience of Black farmers about the USDA’s discriminatory conduct, Secretary

Vilsack candidly admitted the need to address, in his words, “‘the cumulative effect of

discrimination against a class of people, not individuals, but a class.’” 144

        114.     Likewise, in Miller v. Vilsack, the USDA acknowledged that “there is a large body

of evidence that the minority groups included in the USDA’s definition of ‘socially disadvantaged

groups’…have suffered from discrimination in USDA programs with nation-wide scope.” 145

        115.     Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs bring this

class action on behalf of themselves and the similarly situated proposed Direct Loan Class:

        All Black farmers and ranchers who reside in the United States and who, in the
        USDA’s administration of its direct loan program, and within the applicable
        limitations period subject to continuing violations, received inferior service or were

144
    Emma Hurt, The USDA Is Set To Give Black Farmers Debt Relief. They’ve Heard That One Before, NPR (June
4, 2021, 4:48 p.m.) https://www.npr.org/2021/06/04/1003313657/the-usda-is-set-to-give-black-farmers-debt-relief-
theyve-heard-that-one-before (quoting Secretary Vilsack) (last visited Aug. 8, 2023).
145
    Gov’t’s Resp. in Opp’n to Pl.’s Mot. for Prelim. Injunction at 41 (June 11, 2021), Miller v. Vilsack, No. 21-cv-
00595-O (N.D. Tex.) (ECF No. 27).


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        denied access to credit as compared to similarly situated non-minority farmers.
        Without limitation, the USDA Direct Loan Class includes those farmers and
        ranchers who:

        (a) applied for a loan but were subject to an unreasonable or unwarranted denial or
        coerced withdrawal;

        (b) applied or attempted to apply for a loan but did not receive one due to
        unreasonable or undue delays or requests and/or lack of assistance;

        (c) received a loan but were subject to unreasonable or undue delays or requests
        during loan application processing;

        (d) received a loan but with unfavorable terms, such as lower principal amount,
        higher interest rate, and/or other burdensome conditions relating to repayment,
        oversight, securitization, or servicing; and/or

        (e) were dissuaded or discouraged from applying for a loan through the USDA’s
        discriminatory conduct or denial of outreach or assistance.

        116.    Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs bring this

class action on behalf of themselves and the similarly situated proposed MFP Class:

        All Black farmers and ranchers who reside in the United States and who were denied funds
        or received disproportionately fewer funds under the MFP program.

        117.    This action may properly be maintained as a class action pursuant to the

requirements of Fed. R. Civ. P. 23, including Rules 23(b)(2), 23(b)(3), and/or 23(c)(4).

        118.    Numerosity: The Class is so numerous that joinder of all its members is

impracticable. The USDA frequently publishes statistics on Black farmers and ranchers in the

United States, acknowledging 48,697 Black producers based on the 2017 Census of Agriculture. 146

According to the USDA and its data, these producers are located across the country, further making

joinder of all producers impracticable. Because the USDA maintains census, loan, and other data

on Black producers and more generally on socially disadvantaged farmers and ranchers,



146
        USDA,      National    Agriculture     Statistics   Service,   Black    Produces   (Oct.   2019)
https://www.nass.usda.gov/Publications/Highlights/2019/2017Census_Black_Producers.pd


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membership in the Class, therefore, is readily ascertainable from Defendants’ own records.

       119.   Commonality: Common questions of law and fact exist as to the Class and

predominate over questions affecting only individual Class members. As acknowledged by the

USDA and its officials, and as outlined in numerous reports including that of the USDA’s own

expert, Dr. Robb, Class members have suffered common discriminatory impacts based on their

race. As Black farmers, Class members have suffered from adverse USDA lending policies and

practices that perpetuate loan processing and determinations that discriminate based on race and

disproportionately disadvantage Black farmers. Likewise, Class members have been

disadvantaged in the MFP based on race, including the starkly disparate outcomes in the funds

received by Black farmers. Common questions include without limitation:

       (a) whether Defendants discriminated against Class members by improperly impacting
       access to credit, such as through denials or coerced withdrawals, under the USDA direct
       loan program in violation of the Equal Credit Opportunity Act, 15 U.S.C. § 1691(a);

       (b) whether Defendants discriminated against Class members by improperly impacting
       access to credit through delays in the application process under the USDA direct loan
       program in violation of the Equal Credit Opportunity Act, 15 U.S.C. § 1691(a);

       (c) whether Defendants discriminated against Class members by improperly impacting
       access to credit through unwarranted requests or conditions in the application process under
       the USDA direct loan program in violation of the Equal Credit Opportunity Act, 15 U.S.C.
       § 1691(a);

       (d) whether Defendants discriminated against Class members by improperly impacting
       access to credit through imposing restrictive or unwarranted terms and conditions on loans
       under the USDA direct loan program in violation of the Equal Credit Opportunity Act, 15
       U.S.C. § 1691(a);

       (e) whether Defendants discriminated against Class members by improperly denying or
       restricting access to funds under the USDA Market Facilitation Program in violation of the
       Due Process clause of the Fifth Amendment of the U.S. Constitution;

       (f) whether Defendants discriminated against Class members by failing to adequately
       inform Class Members of the existence of the USDA’s MFP in violation of the Due Process
       clause of the Fifth Amendment of the U.S. Constitution;




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       (g) whether Class members are entitled to a declaration that Defendants have violated and
       denied the rights of the Class as to their statutory right to equal credit under the Equal
       Credit Opportunity Act, 15 U.S.C. § 1691(a), with respect to USDA’s direct loan program;

       (h) whether Class members are entitled to a declaration that Defendants have violated and
       denied the constitutional right of the Class to equal protection under the Fifth Amendment
       in connection with the distribution of funds for the USDA’s MFP;

       (i) whether Defendants discriminated against Class members by employing a policy and
       practice of decentralized authority that deliberately places the fate of Black farmers in the
       hands of local administrators that regularly use delegated powers to apply subjective
       criteria and discretion to discriminatory effects; and

       (j) whether Defendants discriminated against Class members by favoring wealthier and/or
       larger farms, which has a disproportionate impact on Black farmers.

       120.    Typicality: Plaintiffs’ claims are typical of the claims of the members of the Class.

Plaintiffs and the members of the Class were denied equal access to credit under the USDA’s direct

loan program and were denied equal protection in connection with the USDA’s Market Facilitation

Program as a result of USDA’s discriminatory conduct described herein. Plaintiffs are advancing

the same claims and legal theories on behalf of themselves and all other Class members, and there

are no defenses that are unique to Plaintiffs. The Plaintiffs and those of the other Class members

arise from the same operative facts and are based on the same legal theories.

       121.    Adequacy of Representation: Plaintiffs are adequate representatives of the Class

because their interests do not conflict with the interests of the other Class members they seek to

represent; they retained counsel competent and experienced in both the underlying legal issues and

complex class action litigation, and Plaintiffs will prosecute this action vigorously. The interests

of the Class will be fairly and adequately protected by Plaintiffs and their counsel.

       122.    Predominance. Defendants engaged in a common course of conduct giving rise to

the legal rights sought to be enforced by Plaintiffs individually and on behalf of the other Class

members. Similar or identical statutory and constitutional violations, practices, and injuries are




                                                 46
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involved. Individual questions, if any, pale by comparison, in both quantity and quality, to the

numerous questions that dominate this action. Therefore, the common questions of law and fact

identified above predominate over any questions affecting only individual Class members.

        123.    Superiority. A class action is superior to any other available means for the fair and

efficient adjudication of this controversy, and no unusual difficulties are likely to be encountered

in the management of this matter as a class action. The damages, harm, or other financial detriment

suffered individually by Plaintiffs and the Class members pale compared to the burden and expense

that would be required to litigate their claims on an individual basis against the USDA, making it

impracticable for Class members to individually seek redress for the USDA’s wrongful conduct.

Moreover, individualized litigation would create a potential for inconsistent or contradictory

judgments and increase the delay and expense to all parties and the court system. By contrast, the

class action device presents far fewer management difficulties and provides the benefits of single

adjudication, economies of scale, and comprehensive supervision by a single court.

        124.    Class members’ claims are additionally or alternatively certifiable because: (a) the

prosecution of separate actions by individual Class members would create a risk of inconsistent or

varying adjudications with respect to individual Class members that would establish incompatible

standards of conduct for the Defendants, (b) the prosecution of separate actions by individual Class

members would create a risk of adjudications that would, as a practical matter, be dispositive of

the interests of the other members not parties to the individual adjudications or would substantially

impair or impede their ability to protect their interests, and (c) Defendants have acted, failed to act,

and refused to act on grounds common to the Class, thereby making declaratory, special, and

injunctive relief appropriate with respect to the Class as a whole.

        125.    Furthermore, particular issues under Rule 23(c)(4) are appropriate for certification




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because Plaintiffs’ claims present only particular, common issues, the resolution of which would

advance the disposition of this matter and the parties’ interests herein.

            COUNT I – VIOLATION OF EQUAL CREDIT OPPORTUNITY ACT

        126.     Plaintiffs, on behalf of themselves and all others similarly situated, incorporate by

reference all the above paragraphs of this Complaint as though fully stated herein.

        127.     The Equal Credit Opportunity Act (“ECOA”) states that it “shall be unlawful for

any creditor to discriminate against any applicant, with respect to any aspect of a credit

transaction—(1) on the basis of race, color, religion, national origin, sex or marital status, or age

(provided the applicant has the capacity to contract); (2) because all or part of the applicant’s

income derives from any public assistance program; or (3) because the applicant has in good faith

exercised any right under this chapter.”147

        128.     The ECOA defines “applicant” to mean “any person who applies to a creditor

directly for an extension, renewal, or continuation of credit, or applies to a creditor indirectly by

use of an existing credit plan for an amount exceeding a previously established credit limit.” 148

        129.     The ECOA defines “credit” to mean “the right granted by a creditor to a debtor to

defer payment of debt or to incur debts and defer its payment or to purchase property or services

and defer payment therefor.”149

        130.     The ECOA defines “creditor” to mean “any person who regularly extends, renews,

or continues credit; any person who regularly arranges for the extension, renewal, or continuation

of credit; or any assignee of an original creditor who participates in the decision to extend, renew,




147
    15 U.S.C. § 1691(a).
148
    15 U.S.C. § 1691a(b).
149
    15 U.S.C. § 1691a(d).


                                                  48
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or continue credit.”150

         131.     The ECOA defines “person” to mean “a natural person, a corporation, government

or governmental subdivision or agency, trust, estate, partnership, cooperative, or association.” 151

         132.     The ECOA creates a private right of action against a creditor who violates its anti-

discrimination provisions. Specifically, the ECOA provides that a “creditor who fails to comply

with any requirement imposed under this subchapter shall be liable to the aggrieved applicant for

any actual damages sustained by such applicant acting either in an individual capacity or as a

member of a class.”152

         133.     The ECOA further authorizes “equitable and declaratory relief as is necessary to

enforce the requirements imposed under this subchapter.” 153

         134.     The Plaintiffs and Direct Loan Class members are “applicants” under the ECOA.

         135.     The USDA, including the FSA, is a “creditor” under the ECOA and is subject to

the ECOA’s requirements and prohibitions.

         136.     The USDA has violated the ECOA, 15 U.S.C. § 1691(a), by unlawfully

discriminating against the Plaintiffs and Direct Loan Class members on the basis of their race.

Specifically, as described herein, the USDA and FSA have discriminated against the Plaintiffs and

Direct Loan Class members throughout the direct loan process by, among other things, dissuading

loan applicants from applying, failing to assist with loan applications, failing to timely process

loan applications, denying loan applications or causing them to be withdrawn, subjecting loans to

adverse terms and onerous supervision, and failing to properly service loans.




150
    15 U.S.C. § 1691a(e).
151
    15 U.S.C. § 1691a(f).
152
    15 U.S.C. § 1691e(a).
153
    15 U.S.C. § 1691e(c).


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        137.     The USDA has violated the ECOA by treating Black farmers less favorably because

of their race in the administration of its direct loan program. By its own admission, and as

established in numerous reports and in the USDA’s loan data, the USDA has engaged and

continues to engage in a pattern and practice of discrimination against Black farmers in the

administration of its direct loan program. The USDA’s disparate treatment of Black farmers has

caused and continues to cause substantial harm to Plaintiffs and the Direct Loan Class members.

        138.     By the admission of the USDA’s own expert, the USDA’s discrimination has

manifested in many ways throughout the loan cycle, including disparate treatment in: 1) outreach

and education about existing loan programs and eligibility; 2) assistance with loan applications; 3)

processing time for applications; 4) loan application approvals; 5) post-disbursement loan

servicing; and 6) the imposition of additional loan requirements. The USDA’s disparate treatment

has been to the obvious and continuing detriment of minority farmers, including Plaintiffs and the

Direct Loan Class Members.

        139.     The USDA has violated the ECOA by implementing practices and policies that

have caused and are continuing to cause a disparate impact to Black farmers in the administration

of its direct loan program. Such practices and policies include but are not limited to the long-

standing and continued decentralization of the approval and administration of loans to local loan

officers and the promulgation of subjective loan criteria by which direct loans are approved and

administered. Such practices and policies further include knowingly favoring larger and wealthier

farms, which are disproportionately owned by whites who therefore receive a disproportionate

share of USDA funds.154 These loan practices and policies have had a significant adverse and

disproportionate impact on Plaintiffs and the Direct Loan Class members, denying them equal


154
  See, e.g., Expert Report of Alicia M. Robb, Ph.D. (Jan. 7, 2022), Miller v. Vilsack, No. 21-cv-00595-O (N.D. Tex.)
(No. 168-2) at 92-93.


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access to the USDA’s direct loan program.

        140.   Plaintiffs and the Class seek all monetary, declaratory, injunctive, and other relief

available under the ECOA to remedy the improper conduct of USDA in connection with its loan

programs as alleged herein.

         COUNT II – EQUAL PROTECTION VIOLATION OF THE DUE
  PROCESS CLAUSE OF THE FIFTH AMENDMENT TO THE U.S. CONSTITUTION

        141.   Plaintiffs, on behalf of themselves and all others similarly situated, incorporate by

reference all the above paragraphs of this Complaint as though fully stated herein.

        142.   The Constitution prohibits the federal government from discriminating based on

race.

        143.   By every measure, the USDA’s allocation of MFP funds disproportionately favored

white farmers, while disadvantaging Black and other farmers of color. The extreme nature and

stark pattern of the disparate impact—with 99.5% of MFP funds being allocated to white

farmers—belies and evidences intentional discriminatory motives in the design, implementation,

and administration of the program.

        144.   By making intentional decisions about the allocation of MFP funds by farming

location, type, and scale, the USDA’s design of the MFP supports the conclusion that the agency

knowingly chose to disproportionately benefit white farmers. The extreme racial disparities in the

MFP were plainly foreseeable and known to the agency when it designed and implemented the

program.

        145.   The purpose of the MFP, as well as the procedures and circumstances surrounding

its implementation, evidence discriminatory motives. Discrimination in allocation of MFP funds

is further suggested by the existence of myriad alternative policies and procedures that the USDA

could have implemented to mitigate the disparate treatment of Black farmers.



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         146.     Plaintiffs and the MFP Class members suffered damage by not receiving MFP

funds and by receiving less MFP funds than they would have received had the program not been

tainted by discrimination. Plaintiffs and the MFP Class members have received disproportionately

fewer funds under the MFP than white farmers.

         147.     Plaintiffs and the MFP Class members seek all available relief to remedy the equal

protection violations associated with the USDA’s MFP, including, inter alia, expansion of benefits

to eliminate disparate impacts. As the USDA has argued in litigation, extension and expansion of

benefits is a proper remedy for an equal protection.155

                             COUNT III – DECLARATORY JUDGMENT

         148.     Plaintiffs, on behalf of themselves and all others similarly situated, incorporate by

reference all the above paragraphs of this Complaint as though fully stated herein.

         149.     An actual controversy exists between Plaintiffs and the Class on the one hand, and

Defendants on the other, as to their rights with respect to the USDA’s loan programs administered

by the FSA and the distribution of funds for MFP.

         150.     Plaintiffs and the Class members pray that this Court declare and determine,

pursuant to 28 U.S.C. § 2201, that the USDA and FSA have violated and denied the rights of

Plaintiffs and the Class members as to: (a) the statutory right of the Plaintiffs and the Direct Loan

Class members to equal credit under the ECOA, 15 U.S.C. § 1691(a), with respect to USDA’s

direct loan programs administered by the FSA; and (b) the constitutional right of Plaintiffs and the

MFP Class members to equal protection under the Fifth Amendment in connection with the



155
   See Gov’t’s Br. in Supp. of Mot. for Summ. J. at 43 (Mar. 11, 2022), ECF No. 168, Miller v. Vilsack, No. 21-cv-
00595-O (N.D. Tex.) (“In cases ‘involving equal protection challenges to underinclusive federal benefits statutes,’ the
Supreme Court has explained, the ‘proper course’ is ordinarily to extend benefits to the excluded claimant asserting
that the ‘relief that courts ordinarily enter to remedy an equal protection violation’ is an ‘extension of the benefits to
those excluded under the challenged provision.’” (citations omitted)).


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distribution of funds for MFP.

       Plaintiffs and the Class members also pray that the Court grant any necessary and

appropriate ancillary relief as permitted by 28 U.S.C. § 2202.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, on behalf of themselves and all others similarly situated, request

that this Court enter judgment against Defendants as follows:

       (a)     An Order finding and declaring that the Defendants have unlawfully discriminated
               against Plaintiffs and Direct Loan Class members in connection with the USDA’s
               direct loan program in violation of the Equal Credit Opportunity Act, 15 U.S.C. §
               1691(a), and awarding Plaintiffs and Class members declaratory, injunctive, and
               monetary relief pursuant to 15 U.S.C. §§ 1691e(a) and (c);

       (b)     An Order finding and declaring that Defendants’ distribution of funds in connection
               with the Market Facilitation Program violated Plaintiffs’ and MFP Class members’
               constitutional right to equal protection and due process, and awarding Plaintiffs and
               Class members declaratory, injunctive, specific, and all other available relief to
               remedy the unconstitutional agency conduct and impact;

       (c)     An Order declaring, pursuant to 28 U.S.C. § 2201, that Plaintiffs and Direct Loan
               Class members were unlawfully discriminated against in violation of the Equal
               Credit Opportunity Act, 15 U.S.C. § 1691(a), along with all other available relief
               as permitted by 28 U.S.C. § 2022;

       (d)     An Order declaring, pursuant to 28 U.S.C. § 2201, that Plaintiffs and MFP Class
               members were denied their constitutional right to equal protection in connection
               with the Market Facilitation Program, along with all other available relief as
               permitted by 28 U.S.C. § 2202;

       (e)     An Order granting Plaintiffs and Class members an award of attorneys’ fees and
               costs pursuant to the Equal Credit Opportunity Act, 15 U.S.C. § 1691e(d), and the
               Equal Access to Justice Act, 28 U.S.C. § 2412; and

       (f)     Such other and further declaratory, injunctive, and monetary relief as the Court may
               deem just, proper, or equitable.




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Dated: August 8, 2023               Respectfully submitted,

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